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                        Exhibit 1
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                                                                                              1901 L Street, N.W.
                                                                                           Washington, D.C. 20036
                                                                                                 +1 202-282-5000
                                                                                                 +1 202-282-5100




                                                                                      ABBE DAVID LOWELL
                                                                                                          Partner
                                                                                                    202-282-5000

                                             May 17, 2024


VIA E-MAIL

Leo J. Wise, Esq.
Derek E. Hines, Esq.
Special Assistant United States Attorneys
Office of the Special Counsel
1313 North Market Street
Wilmington, DE 19801

       Re:      United States v. Robert Hunter Biden, No. 23-cr-00061-MN (D. Del.)

Dear Counsel:

        On April 24, 2024, the government provided materials disclosing its expert witnesses and their
opinions, and the bases and reasons for those opinions. Since that disclosure, Defense counsel has been
engaged in the process of identifying the scope of expert testimony that it deems may be necessary to
counter the government’s proffered expert testimony. We also recognize that certain of the government’s
expert testimony may be obviated by a potential stipulation, if agreed to, between the parties.

         To assist in your preparation, we are providing the following expert disclosure notice pursuant to
Fed. R. Crim. P. 16(b)(1)(c). Defense counsel is still reviewing the government’s disclosures, and reserves
the right to designate additional expert witnesses, as well as to substitute expert witnesses, in order to
address the government’s proffered testimony and evidence, and will timely advise the government of any
changes or additional disclosures. Nothing in this Notice is intended to constitute a waiver of Mr. Biden’s
ability to challenge or limit the scope of any of the government’s expert witnesses or proffered testimony
prior to trial. Moreover, this disclosure is not intended to, and expressly does not, concede the relevance
or admissibility of the government’s proffered expert testimony.

       1. Dr. Joshua D. Lee

       Dr. Lee is expected to testify concerning the following: (a) the scope of addiction, including drug,
alcohol, and other addiction; (b) a person with addiction’s understanding of and state of denial about their
own addiction; (c) how in his training and experience he has come to know how an alcohol or substance
user who has not yet come to terms with their addiction would describe or think of themselves; (d) how
materials provided in discovery indicate that Mr. Biden was acting consistent with that behavior; (e) the
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different types of drug and alcohol use disorders and variable clinical traits, including high-functioning
professionals with active use disorders; (f) the effects and impacts of rehabilitation, therapy, and other types
of treatment programs on affected individuals and their efforts in recovery; and (g) the effects and impacts
of significant personal and family traumas on persons with drug and alcohol use disorders.

       More specifically, Defense counsel anticipates that Dr. Lee will provide, among other things,
opinions and related testimony in response to testimony presented at trial by the government’s witnesses,
including DEA Special Agent Joshua Romig, along the following lines:

       1. A description for the jury about the scope of addiction and that it cannot be objectively defined.

       2. A description for the jury that persons with drug and alcohol use disorders can be high-
          functioning individuals, even during times of heavy drug and alcohol use, and how that
          contributes to their view of themself as being addicted.

       3. An analysis of certain statements made by Mr. Biden in text message conversations with loved
          ones, family members, and close friends, including messages with Hallie Biden about sobriety
          or addiction as to his following Dr. Lee’s view of how persons with addiction view themselves.

       4. An analysis of certain retrospective statements made by Mr. Biden in his memoir, Beautiful
          Things, as to him acting in accordance with Dr. Lee’s view of how persons with addiction view
          themselves.

       5. An analysis of rehabilitation, drug therapy, and other alcohol and substance use treatment
          programs that Mr. Biden enrolled in or attended between 2010 and 2019 as to his following Dr.
          Lee’s view of how persons with addiction view themselves.

       6. A description for the jury of the difference between drug, alcohol, and other substance use
          disorders.

        Since 2005, Dr. Lee, MD, MSc, has served as a Professor of Population Health and
Medicine/General Internal Medicine and Clinical Innovation at NYU’s Grossman School of Medicine and
Director of the ACGME-accredited Addiction Medicine Fellowship. He is a clinician–researcher focused
on addiction pharmacotherapies in primary care and criminal justice populations. He has conducted
multiple NIH clinical trials examining the use of naltrexone and buprenorphine opioid and alcohol
treatments in community criminal justice involved adults, at release from jail, and within community
primary care settings. In addition, Dr. Lee leads the NYU Langone ‘Hub’ of the National Institute on Drug
Abuse Justice and Community Outcomes and Innovation Network. Dr. Lee’s research focuses on, among
other topics, medical treatments for opioid and alcohol use disorders in criminal justice populations, and
addiction treatments in primary care and criminal justice settings. Dr. Lee has a BA from Princeton
University, earned his MD from the University of Tennessee, did his residency training at NYU/Bellevue
Hospital, Internal Medicine, and did his postdoctoral training at Weill Cornell Medicine, where he earned
a fellowship in Health Service Research and Clinical Epidemiology.
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       Dr. Lee’s qualifications as an expert as to the matters addressed herein are set forth further in his
CV attached to this Notice as Exhibit A. Dr. Lee’s testimony is expected to be based on his career of
academic and clinical research in the field of addiction medicine, and treatment of patients for addiction
and other drug, opioid, and alcohol use disorders. This includes through standard academic research
methods such as: (a) study of the relevant peer-reviewed academic literature; (b) clinical research trials; (c)
secondary data research; and (d) medical education curriculum development.

       2. Dr. Michael J. Coyer

         Dr. Coyer, Ph.D., F-ABFT, is expected to testify concerning the following: (a) generally accepted
laboratory methods for forensically testing cocaine; (b) the ability to date or age cocaine samples; (c)
reliability, durability, and chemical composition of cocaine evidence; and (d) chain of custody
considerations in general chemistry testing.

       More specifically, Defense counsel anticipates that Dr. Coyer will provide, among other things,
opinions and related testimony in response to testimony presented at trial by the government’s witnesses,
including FBI Forensic Examiner Jason D. Brewer, along the following lines:

       1. An analysis of Mr. Brewer’s general chemistry examination of a brown colored pouch and the
          secondary evidence generated from that brown colored pouch.

       2. An analysis of the accuracy and reliability of Mr. Brewer’s general chemistry test on the
          white/off-white residue sample collected from the brown leather pouch.

       3. A description for the jury of the possible samples collected from the pouch and combined for
          testing.

       4. A description for the jury of the typical techniques and laboratory methods used to conduct such
          forensic drug lab testing.

       5. A description for the jury of how materials (including drug residue) would be affected by age.

       6. An analysis of the chain-of-custody of the brown colored pouch submitted for laboratory testing
          by the FBI and analyzed by Mr. Brewer.

       Dr. Coyer has served as a laboratory research director at various forensic toxicology laboratories,
including Northern Tier Research (since 2005); Princeton Analytical (since 2011); Labcorp (since 2012);
and DRUGSCAN, Inc. (since 2012)—where he was retained as an expert in forensic toxicology and
Pharmacology for the City of Philadelphia. He is also the New York State CLEP Laboratory Director since
2012. His responsibilities in those roles have included reviewing toxicology reports and forensic analysis,
reviewing all standard laboratory procedures, method validations and proficiency testing, and supervising
general clinical and laboratory analysis and reporting. Since 1996, Dr. Coyer has also served as Laboratory
Director of PPL Susquehanna Nuclear Power Plant, where his responsibilities include overseeing a forensic
drug testing laboratory. From 1999 to 2003, Dr. Coyer served as Toxicology Supervisor at Clinical
Laboratories, Inc., where he oversaw forensic, toxicological, and other laboratory procedures, training, and
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quality assurance. Dr. Coyer has a B.S. in Chemistry from the University of Scranton (1986) and a Ph.D.
in Inorganic/Physical Chemistry from Rutgers – The State University of New Jersey, New Brunswick, NJ.

        Dr. Coyer’s qualifications as an expert as to the matters addressed herein are set forth further in his
CV attached to this Notice as Exhibit B. Dr. Coyer’s testimony is expected to be based on his 32-year
career of clinical and forensic toxicology experience, and research and laboratory experience. Dr. Coyer
has several certifications in forensic toxicology and laboratory experience as reflected in his CV. Dr. Coyer
is a member of the Society of Forensic Toxicology (SOFT) and the American Association of Clinical
Chemistry (AACC), and was certified in 2002 by the American Board of Forensic Toxicology as a Fellow.

       3. Khody R. Detwiler

        Mr. Detwiler is expected to testify concerning the following: (a) generally accepted forensic
examination methods for document, handwriting, and signature analysis; (b) analysis of handwriting and
original writings on Firearm Transaction Form 4473; and (c) analysis of handwriting between documents.

       More specifically, Defense counsel anticipates that Mr. Detwiler will provide, among other things,
opinions and related testimony in response to testimony presented at trial by the government’s witnesses,
including ATF Special Agent Brian Blank, along the following lines:

       1. A description for the jury of the differing copies of Form 4473 obtained by the government and
          produced in discovery.

       2. An analysis of the accuracy and reliability of Mr. Blank’s description of Form 4473 obtained
          and retained by StarQuest Shooters & Survival Supply.

       3. A description for the jury of the possible ways in which Form 4473 was modified or otherwise
          altered.

       4. A description for the jury of the typical techniques and methods used to forensically analyze
          documents and handwriting.

        Mr. Detwiler is a professional forensic document examiner and has worked at his own firm,
Lesnevich & Detwiler, since 2008, becoming a Partner in 2011. Mr. Detwiler has formal training in the
field of Forensic Document Examination, and completed a full-time 24-month training program under the
supervision and instruction of Gus R. Lesnevich. Mr. Detwiler’s forensic document training was done in
accordance with the standard guidelines set forth by the Scientific Working Group for Forensic Document
Examination (SWGDOC) Standard for Minimum Training Requirements for Forensic Document
Examiners. A list of the specific areas related to forensic document examination covered by the training
are reflected in Mr. Detwiler’s CV (page 4). Mr. Detwiler has a B.S., Criminal Justice from Pennsylvania
State University (2009), and has participated in numerous continuing education programs related to
forensic science and document examination since 2011, as reflected in his CV.

        Mr. Detwiler is a contributing author to the published textbook, Forensic Document Examination
in the 21st Century, edited by Jan Seaman Kelly and Miriam Angel, and published by CRC Press Taylor
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and Francis Group [2021] (ISBN: 978-0-367-25155-0). His specific contribution was chapter 14, entitled
“Forensic Analysis of Handwritten Electronic Signatures.”

         Mr. Detwiler’s qualifications as an expert as to the matters addressed herein are set forth further in
his CV attached to this Notice as Exhibit C. Mr. Detwiler’s testimony is expected to be based on his
training, research, and experience in forensic document examination. Mr. Detwiler has previously been
recognized as an expert in the area of forensic document examination and has presented expert evidence in
both state and federal courts throughout the United States as well as in international jurisdictions as outlined
in his testimony list, included in Exhibit C. Several major cases in which he has participated are reflected
in his CV (page 1). Mr. Detwiler is also a member of various professional associations and forensic science
societies as reflected in his CV (page 20).

                                               Sincerely,



                                               Abbe David Lowell


cc:    Christopher D. Man, Esq.
       Bartholomew Dalton, Esq.
       David Kolansky, Esq.
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                          Exhibit A
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                                                 Joshua D. Lee, MD, MSc
                                                          Professor
                                       New York University Grossman School of Medicine

Contact Information
Home address: 121 Ridgewood Rd, Kerhonkson, NY, 12446
Office address: 180 Madison Ave 17-14, New York, NY 10016
Work phone: 646.501.3552
Cell phone: 646.221.3171
Work email: joshua.lee@nyulangone.org
Personal email: jdlee72@gmail.com

Additional Information
Place of birth: Knoxville, TN, USA


Current Appointments and Leadership Positions

Faculty Appointment
09/2014 Professor, Tenured (2017), Dept. Population Health and Division of General Internal Medicine and Clinical Innovation, NYU
        Grossman SOM, NY, New York

Hospital Appointment
10/2005 Attending Physician, Department of Medicine, Bellevue Hospital Center, New York, NY

Administrative Leadership Positions
07/2012 Departmental, Addiction Medicine Fellowship, Program Director, Dept. Medicine/DGIMCI, NYUGSOM, NY, NY
03/2020 Departmental, Section on Tobacco, Alcohol, and Drug Use, Co-Director, Dept. Population Health, NYUGSOM, NY, NY

Education and Training

Education
1990               Certificate                               Webb School                                       Knoxville, TN
1994               BA                Art History             Princeton University                              Princeton, NJ
1999               MD                Medicine                University of Tennessee College of Medicine       Memphis, TN
2005               MSc               Clinical Epidemiology   Cornell University                                New York, NY

Postdoctoral Training
07/1999-06/2002             Resident, Primary Care Internal Medicine, NYU SOM/Bellevue Hospital, New York, NY
07/2002-06/2003             Chief Resident, Primary Care Internal Medicine, NYU SOM/Bellevue Hospital, New York, NY
07/2003-06/2005             Fellow, T32 in Clinical Epidemiology and Health Service Research, Weill Cornell Graduate School in
                            Medical Science, New York, NY
07/2004-06/2005             Research Fellow, Center for Urban Epidemiologic Studies, New York Academy of Medicine, New York,
                            NY

Specialty Certification
2002, 2012, 2022            American Board of Internal Medicine Certificate #213327
2006                        Buprenorphine DATA 2000 Waiver, DEA XL-7999759
2007                        American Society of Addiction Medicine, Certification #001168
2009, 2022                  American Board of Addiction Medicine, Certificate #001168
2023                        American Board of Preventive Medicine:Addiction Medicine, 01/01/2023

Medical Licensure
2001                        New York         #220463

Previous Appointments and Leadership Positions

Faculty Academic Appointments
07/2002-06/2004             Teaching Assistant, Department of Medicine, NYU SOM, New York, NY
                                                     1
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07/2003-06/2005           Instructor in Medicine, Weill Cornell Medical College, New York, NY
07/2005-09/2007           Instructor, Department of Medicine, NYU SOM, New York, NY
09/2007-09/2014           Assistant Professor, Department of Medicine, DGIM, NYU SOM, New York, NY
09/2012-09/2014           Assistant Professor, Department of Population Health, NYU SOM, New York, NY
09/2014-02/2021           Associate Professor, Department of Population Health, NYU Grossman SOM, New York, NY
02/2021-                  Professor, Department of Population Health, NYU Grossman SOM, New York, NY

Hospital Appointments
07/2003-06/2005           Assistant Attending Physician, Medicine, New York-Presbyterian Hospital, New York, NY
10/2005-06/2012           Attending Physician, Dept. Medicine, NYU Medical Center, New York, NY

Awards, Honors, and Memberships in Honorary Societies
Internal
06/2007                   NYU Department of Medicine, Award for Excellence in Research
07/2008                   NYU Department of Medicine, Top Research Paper, July 2008
02/2009                   NYU Department of Medicine, Top Research Paper, Feb 2009
06/2010                   NYU Department of Medicine, Michael Saperstein Medical Scholar
12/2015                   NYU School of Medicine, Dean’s List (Research Incentive Program)
12/2016                   NYU School of Medicine, Dean’s List (Research Incentive Program)
09/2017                   NYU School of Medicine, Award of Tenure
11/2019                   NYU School of Medicine, Large Award Bonus Program
07/2022                   NYU Grossman SOM, Large Award Bonus Program

External
06/1994                   Princeton University, Dept. Art and Archeology, The Irma S. Seitz Prize in the Field of Modern Art
07/1996                   Univ. Tennessee College of Medicine, NIH Summer Research Award
11/2006                   Association of Medical Education and Research on Substance Abuse (AMERSA), Abstract Semi-Finalist,
                          2006 National Meeting, Washington DC
04/2007                   Society of General Internal Medicine (SGIM), Finalist, Milton W. Hamolsky Junior Faculty Award, 2007
                          National Meeting, Toronto, ON
04/2007                   Society of General Internal Medicine (SGIM), Outstanding Abstract, Interactive Resources in Medical
                          Education, 2007 National Meeting, Toronto, ON
11/2007                   Association of Medical Education and Research on Substance Abuse (AMERSA), Best Abstract, 2007
                          National Meeting, Washington DC
11/2011                   NIDA-ISAM 2011 Travel Fellowships for Young Investigators
11/2013                   Association of Medical Education and Research on Substance Abuse (AMERSA), Abstract Semi-Finalist,
                          2013 National Meeting, Washington DC
06/2013                   National Judicial College | Distinguished Faculty
07/2017                   Clinical Research Forum, Top Ten Clinical Research, Achievement Awards (LeeJD et al, NEJM
                          2016;PMID:27028913)
07/2018                   Clinical Research Forum, Nominated, 2018 Top Ten Clinical Research Achievement Award (LeeJD et al,
                          The Lancet 2017, PMID:29150198)

Research Activities
Major Research Interests include:
   1. Opioid and alcohol use disorder pharmacotherapies
   2. Addiction treatments in primary care and criminal justice settings
Work in both of these areas as led to wider adoption of simplified approaches to buprenorphine and naltrexone therpies.




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Grant History
Grants and Clinical Trials
Current
 Agency                   Role               FTE                 Project Title                             NC         Type             Grant          Project        Project       Annual       Annual       Annual       Total        Total             Total
                                              %                                                             E                            #             Start          End          Project      Project      Project     Project      Project           Project
                                                                                                                                                       Date           Date         Direct       Indirect      Total      Direct       Indirect           Costs
                                                                                                                                                                                    Costs        Costs        Costs       Costs        Costs
 NYS                      PI/                            Multidisciplinary Addiction                                  Contr
 OASAS                    PD                 20%         Training Program                               N             act                            7/01/23        6/30/25      1,100,000      90,000      1,200,000   2,200,000     180,000       2,400,000
                                                                                                                                       1T25
                                                                                                                                       HP37
                          PI/                            Addiction Medicine                                                            605-
 HRSA                     PD                 10%         Fellowship                                     N             T25              0100          7/01/20        6/30/25                                 $600,000                                $3,000,000
                                                         Long-acting buprenorphine                                                     U01D
                                                         vs. naltrexone opioid                                                         A047
                                                         treatments in CJS-involved                                                    982-
 NIDA                     PI                 40%         adults                                         N             U01              01            8/1/19         4/30/24                                             13,867,400    3,894,274     17,761,674
                                                         Impact of Jail-Based                                                                                                    $585,483       $134,869    $720,353    2,929,021
                                                                                                                                                                                                                                      674,716       3,603,737
                                                         Methadone on Overdose,                                                        R01D
                                                         Recidivism, HIV and Health                                                    A045
                                                         Outcomes, and Costs in                                                        042-
 NIDA                     PI                 20%         New York City, 2011-2017                       Y             R01              01A1          7/1/18         6/30/23
                                                         Pain, Opioids, and ESRD
                                                         Risk Reduction with
                                                         Mindfulness and
                                                         Buprenorphine (POEM-B): A                                                     1U01
                                                         3-Arm Mulit-site                                                              DK12
                                                         Randomized Trial in                                                           3814-
 NIDDK                    MPI3               10%         HElodialysis Patients                          N             U01              01            9/24/19        5/31/24                                             1,702,682     1,180,569     2,883,251
                                                         CHASE: An Innovative                                                          UM1
                                                         County-Level Public Health                                                    DA04
                                                         Response to the Opioid                                                        9415-
 NIDA                     Co-I               10%         Epidemic in New York State                     Y             UM1              01            4/17/19        3/31/23                                             17,896,523    4,614,321     22,510,844
                                                         Effectiveness of the Consult
                                                         for Addiction Treatment and
                                                         Care in Hospitals (CATCH)
                                                         model for engaging patients
                                                         in opioid use disorder
                                                         treatment: Pragmatic trial in                                                 R01D
                                                         a large municipal hospital                                                    A045                         12/31/2
 NIDA                     Co-I               IK          system                                         N             R01              669           3/15/18        1            $515,633       $165,665    $681,298    2,009,142     742,091       2,751,233
                                                                                                                                       U10D
                                                         Clinical Trials Network:
                                                                                                                                       A013
                                                         Greater New York Node
 NIDA                     Co-I               5%                                                         N             U10              035           9/1/15         8/31/20                                             59,467        172,101       587,366




Pending
None
Past
 Funding                        Role               Effort           Project Title                 Award               Grant #            Project ID             Project        Project       Annual        Annual       Annual       Total          Total                    Total
 Agency                                            %                                              Type                                                          Start          End           Project       Project      Project      Project        Project                  Project
                                                                                                                                                                Date           Date          Direct        Indirect     Total        Direct         Indirect                 Costs
                                                                                                                                                                                             Costs         Costs        Costs        Costs          Costs
                                                                    TOPIRAMATE
                                                                    AS A
                                                                    TREATMENT
                                                                    FOR CO-
                                                                    OCCURRING
                                                                    AUD AND                                                              5P01AA027057-                                                                               $               $                        $
 NIAAA                          Co-I               2%               PTSD                          N                   P01                02                     9/1/19         8/31/20       $295,821        $205,596   $501,417     295,821.00     205,596.00               501,417.00
                                                                    Effectiveness of
                                                                    the Consult for
                                                                    Addiction
                                                                    Treatment and
                                                                    Care in Hospitals
                                                                    (CATCH) model
                                                                    for engaging
                                                                    patients in opioid
                                                                    use disorder
                                                                    treatment:
                                                                    Pragmatic trial in
                                                                    a large municipal                                                                                                                                                                $                        $
 NIDA                           Co-I               IK               hospital system               N                   R01                R01DA045669                           3/15/18       12/31/21      $515,633     $165,665     $681,298       2,009,142.00             742,091.00
                                                                    Buprenorphine Extended-                                                                                                                                           $
                                                                    release in Jail and at Re-                                                                                                                                       180,000.00
                                                                    entry: Open-label
                                                                    Randomized Controlled
                                                                    Trial vs. Daily
                                                                    Sublingual Buprenorphine-                         U01DA033336-                                                                                                                   $                        $
 NIDA                           PI                 IK               naloxone                      U01-AS              05S1                                      6/1/17         5/31/18                                                              125,100.00               305,100.00
                                                                    Extended-Release
                                                                    Naltrexone Opioid
                                                                    Treatment at Jail-to-                                                                                                                                             $              $                        $
 NIDA                           PI                 IK               Community Re-entry            U01                 U01DA033336-01                            6/1/13         5/31/18                                               1,888,627.00   1,313,290.00             3,201,917.00
                                                                    Extended-Release
                                                                    Naltrexone Opioid
                                                                    Treatment at Jail-to-
 Laura and John Arnold                                              Community Reentry:                                                                                                                                                $              $                        $
 Foundation                     PI                 15%              Extension Study               Foundation          NA                                        4/1/17         3/31/21                                               680,866.00     68,087.00                748,953.00
                                                                    NEXT GENERATION TOOLS FOR
                                                                    ONSITE MONITORING AND                             2R42DA041959-                                                                                                   $                                       $
                                                                    TREATMENT OF DRUG OF ABUSE-
 NIDA                           Co-I               10%              DEPENDENT PERSONS             R24                 02                 19-A0-XX-XXXXXXX       9/30/19        8/31/21                                               608,469.00     $           102,040.00   760,245.00
                                                                    DEVELOPMENT OF A
                                Consultant                          NOVEL DRUG FOR
                                (UG3); Co-I                         TREATING OPIOID USE                               1UG3DA048234-                                                                                                   $              $                        $
 NIDA                           (UH3)              NA               DISORDER                      UG3/UH3             01                                        3/15/19        2/28/21                                               2,789,359.00   271,181.00               3,060,540.00
                                                                    NOVEL THERAPEUTICS
                                                                    FOR OPIOID USE
                                                                    DISORDER IN THE
                                Consultant                          ACUTE OVERDOSE AND
                                (UG3); Co-I                         MAINTENANCE                                       1UG3DA049598-                                                                                                   $              $                        $
 NIDA                           (UH3)              NA               SETTINGS                      UG3/UH3             01                                        9/30/19        8/31/21                                               5,956,355.00   504,847.00               6,461,202.00
                                                                    A LONG-ACTING
                                                                    BIOABSORBABLE
                                                                    NALTREXONE
                                Consultant                          SUBCUTANEOUS
                                (UG3); Co-I                         IMPLANT FOR OPIOID                                1UG3DA048338-                                                                                                   $              $                        $
 NIDA                           (UH3)              NA               USE DISORDER                  UG3/UH3             01A1                                      4/1/19         3/31/21                                               2,994,297.00   89,672.00                3,083,969.00
                                                                    Reducing Overdose After                                                                                                                                          $1,498,936
                                                                    Release From Incarceration
 CDC                            Consultant         NA               (ROAR)                        R01
 Research Foundation                                                                                                                                                                                                                  $                                       $
 City University of New                                             Fellowship in Addiction       City of New York,                                                                                                                  75,829.68                               104,626.00
 York                           Director           IK               Medicine                      Sub-Contract        NA                 19-A0-XX-XXXXXXX       7/1/19         6/30/20                                                              $            24,796.31
                                                                    Extended-Release vs. Oral
                                                                    Naltrexone Alcohol                                1R01AA020836-                                                                                                   $                                       $
 NIAAA                          PI                 34%              Treatment in Primary Care     R01                 01A1               12-00682               8/1/13         4/30/18                                               3,166,713.00   $      2,200,866.00      5,367,579.00
                                                                    Opioid Use Disorder
 Laura and John Arnold                                              Treatments: An Evidence                                                                                                                                                                                   $
 Foundation                     PI                 5%               Map                           Y                   Foundation         NA                                    11/1/18       4/30/20                                                $           105,626.00   13,777.00
                                                                    Treatment Study Using
                                                                    Depot
                                                                    Naltrexone(3/6)NY/Bellevue                        1R01DA024555-                                                                                                   $                                       $
 NIDA                           PI                 25%              Protocol Treatment Site       R01                 01A1               08-0221                7/15/08        2/28/16                                               1,080,000.00   $        747,289.00      1,827,289.00
                                                                    Treatment Study Using
                                                                    Depot
                                                                    Naltrexone(3/6)NY/Bellevue                        3R01DA024555-                                                                                                   $                                       $
 NIDA                           PI                 25%              Protocol Treatment Site -     R01-Supplement      05S1               13-A0-S1-080221        11/15/13       10/31/15                                              113,817.00     $            78,534.00   192,351.00


                                                                                                                                                              3 of 18
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                                             Hurricane Sandy
                                             Administrative Supplement
                                             Clinical Trials Network:
                                             Greater New York Node.
                                             CTN-0051 XR-Naltrexone
                                             vs. Buprenorphine Opioid                                                                                       $                                  $
 NIDA                     Co-I       20%     Treatment (X:BOT)              U10/UG1             UG1DA013035    15-A0-00-003671   9/1/15       5/31/20      8,920,226.00    $   2,137,000.00   11,057,226.00
                                             Clinical Trials Network:
                                             Greater New York Node.
                                             CTN-0030 Prescription
                                             Opioid Addiction Treatment                                                                                     $                                  $
 NIDA                     Co-I       20%     Study (POATS)                  U10                 U10DA013035    15-A0-00-003671   9/1/15       5/31/16      15,460,778.00   $   3,925,349.00   19,386,127.00
                                             Buprenorphine Maintenance
                                             for Opioid Addicted Persons                        R21DA020583                                                                                    $
 NIDA                     Co-I       2%      in Jail and Post-Release       R21                                                  4/1/06       3/31/08                                         375,650.00
                                             Substance Abuse Research
                                                                                                R25DA022461-
                                             Education and Training                                                                                                                            $
                                                                                                01A1
 NIDA                     Co-I       15%     (SARET)                        R25                                                  9/1/07       5/13/12                                         1,840,117.00
                                             Depot Naltrexone Treatment
 Univ. Pennsylvania                          of Opioid-Dependent
 Subaward, Dana                              Parolees:an open label                                                                                         $                                  $
 Foundation               PI         5%      feasibility                    Foundation          NA             06-0768           8/1/06       8/1/08       20,000.00       $             -    20,000.00
                                             Extended-Release
                                             Naltrexone for Opioid
                                             Relapse Prevention at                                                                                          $                                  $
 Alkermes, Inc            PI         10%     Release from Jail              Industry            ALKISS-LEE17                     5/1/11       06/31/2015   60,000.00       $             -    60,000.00
                                             Extended-Release
                                             Naltrexone for Opioid
 NYU Center of                               Relapse Prevention at                                                                                          $                                  $
 Excellence Seed Grant    PI         IK      Release from Jail              NYU                 NA                               4/7/09       4/6/10       25,000.00       $             -    25,000.00
                                             Extended-Release
 NYU Dept. Medicine                          Naltrexone for Opioid
 Michael Saperstein                          Relapse Prevention at                                                                                          $                                  $
 Scholar                  PI         IK      Release from Jail              NYU                 NA                               6/8/10       6/7/11       25,000.00       $             -    25,000.00
                                             Academic Administrative                                                                                        $                                  $
 HRSA                     Co-I       30%     Units in Primary Care          AHRQ                D54HP05446                       9/1/05       8/31/08      1,034,867.00                       1,034,867.00
 Addiction Medicine                          Next Generation Fellowship                                                                                     $                                  $
 Foundation               Mentor     IK      in Addiction Medicine          Foundation          NA             16-A0-00-007014   7/1/16       6/31/2017    25,000.00       $             -    25,000.00
 Research Foundation
 City University of New                      Fellowship in Addiction        City of New York,                                                               $                                  $
 York                     Director   IK      Medicine                       Sub-Contract        NA             16-A0-00-007134   7/1/16       06/31/2019   96,126.00       $             -    96,126.00
 NYU CTSI Seed                               XR-Buprenorphine Pilot                                                                                         $                                  $
 Funding                  PI         IK      Proof of Concept RCT           NYU                 NA                               7/1/18       06/31/2019   35,000.00       $            -     35,000.00
                                             Buprenorphine Diversion in                                                          12/01/2018   10/31/2019    $              $     21,442.00     $
 Friends Research                            the Criminal Justice System:                                                                                  71,474.00                          92,916.00
 Institute Subaward,                         Survey of Recently-Released
 Indivior                 Site PI    10%     Inmates                        N                   Industry




Clinical Activity
I am a primary care internist and addiction medicine specialist who has treated underserved and correctional populations in NYC since
internship at Bellevue/NYU in 1999. I served as a NYC jail per diem medical provider in NYC H+H’s Correctional Health Service
from 2002-2019. I co-founded the Addiction Medicine specialty clinic in Adult Primary Care at Bellevue Hospital Center, which has
been a clinical model and leading center of office-based opioid and alcohol treatment in NYC H+H since 2006. I founded the
Addiction Medicine Fellowship at NYUGSOM in 2011, now training three Fellows annually.

Education Activity
Teaching Activities
7/2002-6/2005                        Medical resident clinic, clinician educator, medical residents, Dept. of Medicine, Gouverneur DTC, 4 hours per
                                     week, 2002-2003; 2 hours per month, 2003-2005
7/2002-6/2007                        CDC-funded CME 1-day workshop on primary care responses to bioterrorism and disaster, Faculty Facilitator,
                                     Psychosocial Aspects of Bioterrorism, NYU School of Medicine (2005, 2003), SGIM National Meeting, Vancouver,
                                     BC (2003), Albany (2004), Rochester (2004), Troy, NY (2005), and West Palm Beach, FL (2007)
7/2002-6/2005                        Seminar Leader, Patient and Society, medical students (MS1), NYU SOM, 40 hours
7/2002-6/2003                        Section Instructor, Physical Diagnosis, medical students (MS1), NYU SOM, 10 hours
7/2004-6/2008                        Annual Lecturer, Primary Care Residency Health Policy Seminar, medical residents (PGY3), 2 hours
7/2006-6/2008                        Lecturer, Patient and Society, Alcohol Screening and Brief Intervention, MS1, NYU SOM, 2 hours
7/2011-                              Program Director, Fellowship in Addiction Medicine, DGIM and Dept. of Population Health, NYU SOM
02/2015                              Lecturer, Addiction Fellowship Seminar, Addiction Medicine and Psychiatry Fellows, NYU SOM
02/2015                              Lecturer, Bioethics Seminar, MS1-2, NYU SOM
10/2016-                             Certified Trainer and Lecturer, PCSS Buprenorphine ‘Half-and-Half’ X-waiver training of all PGY1-2 Internal
                                     Medicine and Primary Care residents, NYU, Annual, 20 hours (multiple sessions)
10/2016-                             Lecturer, Update on Addiction Medicine, Internal Medicine PGY3s, NYU SOM, 1 hour

Curriculum development and other innovative educational activities
05/2014                              Invited Webinar, “Extended-Release Naltrexone: Practical Consideration,” ASAM-AAAP Physician Clinical
                                     Support System – Medication Assisted Treatment, Mentor Training.
11/2015                              Invited National Faculty (Video Production), National Association of Drug Court Professionals, Medication
                                     Assisted Treatment
03/2016                              SAMHSA/CSAT Provider Clinical Support System For Medication Assisted Therapy (PCSS-MAT) National
                                     Webinar, “Medication Assisted Treatment and the Criminal Justice System”

Invited Talks and Teaching of Peers
Internal- Sponsored by NYU Langone Health
03/2008                              Invited Lecture, Grand Rounds, “Drug and Alcohol Problems in Criminal Justice Settings,” NYU SOM/Bellevue
                                     Hospital Center Division of Alcohol and Drug Abuse, New York, NY.
07/2008                              Invited Lecture, Grand Rounds, “Addiction Treatment Research at Bellevue: Buprenorphine and Naloxone,”
                                     Bellevue Hospital Center Division of Virology, New York, NY.
04/2009                              Invited Lecturer, NYU SOM Alumni Day, “Addiction Interventions in Primary Care and Criminal Justice Settings,”
                                     NYU SOM, New York, NY.
11/2009                              Invited Lecturer, Advances in Addiction Research and Practice Symposium (ARDIS), “Addiction Treatment in
                                     Primary Care and Criminal Justice Settings,” NYU SOM, New York, NY.
01/2010                              Invited Lecture, Grand Rounds, NYU Division of General Internal Medicine, “Primary Care Addiction Treatment
                                     and Research,” NYU/Bellevue Hospital Center, New York, NY.
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08/2010          Invited Lecturer, “Addiction Pharmacotherapies in Criminal Justice Settings,” Translational Research in Progress,
                 NYU SOM, New York, NY.
03/2016          Invited Lecturer, Grand Rounds, “Opioid Disorders and Criminal Justice: Policy, Research and Treatment Trends,”
                 NYU SOM, New York, NY.
10/2016          Seminar, “Update on Addiction Treatment,” Disorders of the Nervous System, Neuroscience Doctoral Students,
                 NYU Neuroscience Institute, New York, NY
02/2019          Invited Lecturer, Grand Rounds, “The X:BOT Trial and Updates in Medication for Opioid Use Disorders,”
                 Department of Psychiatry, NYU SOM, New York, NY.
07/2020          Research Spotlight, Faculty Meeting, Department of Population Health, NYU SOM, New York, NY

Internal-Sponsored by all other NYU Schools
04/2017          Invited Lecturer, “Low Threshold Treatment of OUD for Primary Care and CJS Populations,” NYU Center for Drug
                 Use and HIV Research, NYU School of Nursing, New York, NY.
03/2018          Invited Lecturer, “Opioid Pharmacotherapies,” NYU Center for Drug Use and HIV Research 20th Anniversary
                 Symposium, NYU School of Nursing, New York, NY

External to NYU Langone Health and all other NYU Schools
3/2007, 8/2007   Invited Lecturer, “Buprenorphine in the Safety Net Environment.” NYC H+H, Cicatelli Associates, NY, NY; Kings
                 County Hospital Department of Medicine, Brooklyn, NY.
11/2007          Invited Lecture, Grand Rounds, “Alcohol Screening and Treatment,” Gouverneur DTC Department of Medicine,
                 New York, NY
01/2010          Invited Lecture, Grand Rounds, “Opioid Pharmacotherapy: Review and Update,” Mental Health Grand Rounds,
                 Prison Health Service, DOHMH Correctional Health Services, NYC Dept. Corrections, Queens, NY
03/2010          Panelist, Fortune Society and John Jay College of Criminal Justice, Harlem Community Justice Center, 2010
                 Harlem Reentry & Public Safety Forum. The Fortune Society, New York, NY
04/2010          Invited Symposium Paper, American Society of Addiction Medicine 41st Annual medical-Scientific Conference,
                 “The Multiple Seen and Unseen: Criminal Justice System to Addiction Services,” National Institute of Drug Abuse,
                 American Society of Addiction Medicine, San Francisco, CA.
11/2010          Invited Lecturer, “Emerging Opioid Pharmacotherapies,” NY Drug Courts Annual Conference, Kingsboro CC,
                 Brooklyn, NY
12/2010          Invited Plenary, American Association Addiction Psychiatry National Meeting, “Medical Update: Alcoholic
                 Pancreatitis: Treatment and Prevention,” Boca Raton, FL.
02/2011          Invited Plenary, New York Society of Addiction Medicine, 7th Annual Conference, “Extended-Release Naltrexone
                 Clinical Trials,” New York, NY.
03/2011          Invited Lecture, Grand Rounds, “Addiction Pharmacotherapies in General Care Settings: Current Evidence,” Dept.
                 Psychiatry, Maine Medical Center, Portland, ME.
06/2011          Invited Testimony, “Model Programs for Treating Opioid Dependent Offenders,” Boston State Assembly, Boston,
                 MA.
08/2011          Invited Plenary, “Opioid Dependence and Treatment,” American Correctional Association, Orlando, FL.
10/2011          Invited Plenary, “Addiction Pharmacotherapies,” National Judicial Training - Georgia Judicial Leaders Symposium,
                 Atlanta, GA.
03/2012          Invited Plenary, “Addiction Pharmacotherapies and Criminal Justice Populations,” International Community
                 Corrections Association, Reno, NV.
10/2012          Invited Lecture, “Opioid Addiction in the Criminal Justice System,” 2012 California Summit on Opioid
                 Dependence: New Approaches, Treatment Options and Recovery,” National Council on Alcoholism and Drug
                 Dependence, Los Angeles, CA.
09/2013          Invited Lecture and Faculty, “Addiction Treatment Systems,” “Brief Interventions and Motivational Interviewing
                 for Alcohol,” Physicians Addiction Training Program, R. Brinkley Smithers Foundation, Lenox Hill Hospital, New
                 York, NY.
09/2013          Invited Plenary and Panelist, “Opioid Pharmacotherapies and Criminal Justice Populations,” Northeast Drug Court
                 Professionals Annual Meeting, Boston, MA.
10/2013          Invited Lecture and Panelist, “Making the Invisible Visible,” St. Lukes-Roosevelt Conference on Incarceration and
                 Health, New York, NY.
10/2013          Invited Lecturer, “Opioid Pharmacotherapies,” Nebraska Judicial Leaders Symposium, Omaha, NE.
11/2013          Chair and Invited Lecturer, National Conference Pre-course, “Opioid Medication Assisted Therapies,” American
                 Association for the Treatment of Opioid Dependence, Philadelphia, PA.
02/2014          Invited Lecturer, “Jail and Prison Healthcare,” Conference Public Health, Brooklyn College, New York, NY.
3-5/2014         Invited Lecturer, “Opioid Pharmacotherapies in CJS,” National Judicial Training – National Justice College, Reno,
                 NV; Boise, ID.
11/2014          Invited Lecture, “Enhancing Court Efficacy Through Emerging Addiction Science: A Systems Change Approach,”
                 National Association of Drug Court Professionals, Concord, NH.
                                                             5 of 18
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06/2015     Invited Speaker and Panelist, “Medication Assisted Treatments and CJS Settings,” Opioid Roundtable, US Bureau
            of Prisons, Washington DC.
07/2015     Invited Lecturer, US Congressional Briefing (Rep. Chakka (D-PA), sponsor), American Association for the
            Advancement of Science (AAAS, sponsor), Capital Hill, Washington DC.
09/2015     Invited Lecturer, “Enhancing Court Efficacy Through Emerging Addiction Science: A Systems Change Approach,”
            Louisiana Justice Leaders Symposium, Lafayette, LA.
09/2015     Invited Workshop, “XR-Naltrexone in CJS,” New England Association of Drug Court Professionals, Marlborough,
            MA.
10/2015     Invited Plenary, “Re-entry Addiction Treatments,” American College of Correctional Physicians, Inaugural Annual
            Meeting, Dallas, TX.
10/2015     Invited Workshop, “Medication Treatments of OUD in CJS,” New Jersey Association of Mental Health and
            Addiction Agencies (NJAMHAA) Fall Behavioral Healthcare Meeting, Mercerville, NJ.
10/2015     Invited Plenary, “Opioid Pharmacotherapies,” Utah State Drug Court Conference, Midway, UT.
11/2015     Invited Lecture and Panelist, “Clinical Trials in CJS Settings,’ NIDA Workshop on Stimulant Clinical Trials,
            Bethesda, MD.
03/2016     Invited Lecture, “Addiction Neurobiology and Treatments,” Manhattan Veterans Treatment Court, New York, NY.
03/2016     Invited Lecture, “Addiction Pharmacotherapies,” National Coordinator Training, National Drug Court Institute,
            Reno, NV.
03/2016     Invited Lecture, Research Seminar, “Opioid Disorders and Criminal Justice,” Research Seminar in Public Health,
            Columbia School of Public Health, New York, NY.
04/2016     Invited Lecture, “Addiction Clinical Treatments and Re-entry,” SAMHSA Re-Entry Institute Annual Conference,
            Chicago, IL.
06/2016     Invited Plenary, “Medication Assisted Treatment and Criminal Justice,” National Association of Drug Court
            Professionals, National Veterans Treatment Court Professionals, Annual Conference, Anaheim, CA.
03/2016     Invited Lecture, “Opioid Disorders and Criminal Justice: Policy, Research and Treatment Trends,” Kirby
            State/Manhattan State Psychiatric Center Grand Rounds, New York, NY.
08/2016     Invited Workshop, “Opioid Treatment Approaches,” New York Southern Tier Drug Court Professionals,
            Binghamton, NY.
08/2016     Invited Plenary, “Science of Opioid Addiction in the Criminal Justice Population,” Regional Judicial Opioid
            Initiative, Supreme Court of Ohio, Cincinnati, OH.
12/2016     Invited Faculty, “Addiction Treatment Neuroscience,” Justice Leaders Symposium, Orlando, FL.
12/2016     Invited Faculty, “Opioid Pharmacotherapies Science and Effectiveness,” National Judicial College Symposium,
            Reno, NV.
01/2017     Invited Lecturer, “Low Barrier Opioid Treatments in Primary Care,” Greater New York Hospital Association, New
            York, NY.
02/2017     Invited Lecturer, “Office Based Buprenorphine Treatment,” NYC H+H Ambulatory Care all hands retreat, New
            York, NY.
09/2017     Grand Rounds, “Opioid Pharmacotherapies and Treatments,” Department of Orthopedics, Emory University School
            of Medicine, Atlanta, GA.
05/2018     Invited Plenary, “Opioid Clinical Trials in CJS,” Community Courts and Public Safety National Conference,
            Birmingham, AL.
10/2018     Invited Lecturer, “Low Threshold Opioid Treatments,” Frontiers in Medicine Series, Mt. Sinai School of Medicine,
            New York, NY.
10/2018     Invited Plenary, “Opioid Pharmacotherapies in CJS and Primary Care,” Opioid Epidemic Research Summit,
            Medical University of South Carolina, Charleston, SC.
03/2019     Invited Plenary, “Opioid Pharmacotherapies in CJS and Primary Care,” Opioid Court National Roundtable, Center
            for Court Innovation, New York, NY.
04/2019     Invited Plenary, “Extended-Release Naltrexone in CJS,” Tuerek Annual Conference of the Maryland National
            Council on Alcoholism and Drug Dependence, Baltimore, MD.
04/2019     Invited Lecturer, “Buprenorphine Home Induction in Primary Care,” NYC Health+Hospitals Buprenorphine ECHO,
            New York, NY.
05/2019     Invited Panelist, “Extended-Release Naltrexone,” Physician Assistant Association National Conference, PA Student
            Forum, Denver, CO
06/2019     Invited Research Seminar, “X:BOT and XR-NTX Medical Management,” Dartmouth/NIDA CTN Northeast Node,
            Hannover, NH
10/2019     Invited Press Conference, International Associate of Correspondents, New York, NY.
10/2019     Invited Plenary, “JCOIN and XR-Buprenorphine,” Dartmouth/NIDA CTN Northeast Node Annual Meeting
            Dartmouth College, Hannover, NH.
11/2019     Invited Lecture, “X:BOT and XR-Naltrexone,” Montefiore Project ECHO, New York, NY
05/2020     Invited National Webinar, “Opioid and Alcohol Pharmacotherapies: the biomedical approach,” National Judicial
            College, Reno, NV
                                                       6 of 18
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10/2020          Invited National Webinar, “Medications for OUD in Criminal Justice Systems,” Provider Clinical Support System
                 (PCSS), American Psychiatric Association.
01/2022          Touro College, School of Osteopathic Medicine, “Opioid Use Disorders: treatment and clinical research.”
02/2022          George Washington U. Center for Criminal Justice and Health, “Updates on CJS-OUD treatment and research”

Mentoring and Advising
Predoctoral Students supervised and/or mentored
07/2008-06/2009 Judd Fastenberg, NYU Dept. of Population Health, SARET (Substance Abuse Research and Education Training)
                Program Pre-med
06/2007-08/2008 Benjamin Niver, NYU Dept. of Population Health, SARET MS1
06/2009-08/2008 Nicole Rosendale, NYU Dept. of Population Health, SARET MS1
06/2010-08/208 Valerie Singleton, NYU Dept. of Population Health, SARET SW Masters Candidate
06/2011-08/2008 Dylan Brock*, NYU Dept. of Population Health, SARET MS1
06/2013-08/2008 Emily Buirkle, NYU Dept. of Population Health, SARET MS1
06/2013-06/2014 Michelle Perna, NYU Dept. of Population Health, SARET Dental Student
06/2016-07/2017 Melissa Velasquez*, NYU Dept. of Population Health, SARET MS1-2
06/2017-06/2019 Ryan Badolato*, NYU Dept. of Population Health, SARET MS1 and MS4 Research Elective
07/2017-06/2019 Alexandria Vittitow*, NYU Dept. of Population Health, Research Volunteer and Pre-Med
07/2018-08/2019 Mike Barry, NYU Dept. of Population Health, Research Volunteer and Pre-Med
06/2019-08/2019 Sally Martier, NYU Dept. of Population Health, SARET SW Masters Candidate

Postdoctoral Students supervised and/or mentored
07/2006-06/2007 Marshall Fordyce MD*, NYU Dept. Medicine, PGY3
07/2006-06/2007 Maria Raven MD*, NYU DGIM and EM, Fellow, Advisor
07/2010-06/2012 Babak Tofighi MD*, Lenox Hill Hospital, PGY2-3, Advisor
07/2012-06/2014 Babak Tofighi MD*, Addiction Medicine Fellow, Mentor
07/2013-06/2014 Elenore Patterson MD*, Addiction Medicine Fellow, Mentor
07/2014-06/2016 Andrea Kermack MD*, Addiction Medicine Fellow, Mentor
07/2016-06/2018 Daniel Schatz MD*, Addiction Medicine Fellow/ Masters Comparative Effectiveness, Mentor
07/2018-06/2019 Juliet Caldwell MD, Addiction Medicine Fellow, Mentor
07/2019-06/2021 Kumar Vasudevan MD, Addiction Medicine Fellow/ Masters Comparative Effectiveness, Mentor
07/2020-06/2021 James Zhou MD, Addiction Medicine Fellow
07/2020-06/2021 Diana Lee MD, Addiction Medicine Fellow
07/2022-06/2024 Eric Kutscher MD, NYU Addiction Medicine Fellow/ MSCI Research Mentor

Faculty mentored
07/2015-        Ryan McCormack MD, Assistant Professor, Emergency Medicine, NIAAA K23 Co-Mentor
07/2016-        Babak Tofighi MD MS*, Assistant Professor, Population Health, NIDA K23 Primary Mentor
09/2018-        Joey Palamar PhD, Associate Professor, Faculty Development Committee, Chair
04/2019-06/2020 Justin Feldman PhD, Instructor, Population Health, K-01 Application, Co-Mentor
10/2019-        Noa Krawczyk PhD, Assistant Professor, Faculty Development Committe, Member

Institutional, Local/National Service and Related Activity
Institutional Service
10/2005-07/2018 Hospital, Attending Physician, Inpatient Emergency Detoxification Unit, Bellevue Hospital Center
10/2005-        Hospital, Attending Physician, Ambulatory Care, Bellevue Hospital Center
7/2011-06/2013 Hospital, Attending Physician, Addiction Medicine, Internal Medicine Associates, NYUMC
3/2020-4/2020 COVID Army, Attending Physician, 14 East, Tisch Hospital, NYULH

Professional Service
Professional Service for Professional Organizations
11/2002-06/2005 Executive Committee member, Weill Medical College of Cornell University, Rogers Health Policy Colloquium
10/2004-06/2007 Member, New York City Department of Corrections, Working Group on Benefits Continuity
10/2005-06/2007 Member, Public Health Association of New York City, Public Safety Committee
10/2006-06/2010 Hospital Wellness Committee member, Bellevue Hospital Center

Peer Review Groups, Grant Application Review Groups, and Study Sections
04/2009-03/2012 Annual Review Committee member, NYU Center of Excellence Seed Grant Awards
04/2011         Reviewer, NIDA NO1DA 11-1147, Physician Outreach and Education on Prescription Drug Abuse
09/2011         Reviewer, OSR/NIGM Minority Biomedical Research Support
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03/2012         Reviewer, NIDA ZDA1 NXR-B (13), Phased Services Research Studies of Drug Use Prevention, Addiction,
                Treatment and HIV
02/2012         Reviewer, State of Pennsylvania, Department of Health, ad hoc review Pennsylvania Interim Performance Review,
                Addiction Health Service Research
06/2013         Reviewer, NIH/NIAAA AA-3, Clinical, Treatment and Health Services Research Review
07/2013         Reviewer, NIH/NIAAA 2014/01 ZAA1 DD (03) 1, NIAAA Member Conflict Applications - Epidemiology and
                Clinical studies
11/2013         Reviewer, NIH/NIDA 2014/05 ZDA1 NXR-B (11), DA-14-012 Co-morbid HIV, Chronic Pain, and Substance
                Abuse Among Older Adults (R21)
01/2014         Reviewer, State of Pennsylvania, Department of Health, PA Final Performance Review - 13-14 Cycle B
02/2014         Reviewer, NIH/NIAAA 2014/10 ZAA1 DD (03) 1, Clinical, Treatment and Health Services Research, Members
                Conflict Special Emphasis Panel.
03/2014         Reviewer, NIH 2015/01 ZRG1 RPIA-W (02) S, Risk, Prevention and Interventions (RPIA) for Addictions.
04/2014         Reviewer, NIH SRG 2015/01 Risk, Prevention and Interventions (RPIA) for Addictions Study Section.
05/2015         Reviewer, NIH SRG 2015/10, Risk, Prevention and Intervention (RPIA) for Addictions Study Section.
02/2016         Reviewer, NIH/NIAAA ZAA1 DD (02), Clinical, Treatment and Health Services Research, Members Conflict
                Special Emphasis Panel.
04/2016         Reviewer, NIH/NIDA Risk, Prevention and Health Behavior IRG, Special Emphasis Panel.
07/2016         Reviewer, 2016/10 ZDA1 HXO-H (14) R, Services Planning Research in the Appalachian Region to Address
                Adverse Health Consequences Associated with Increased Opioid Injection Drug Use (R03)
09/2016         Reviewer, 2016/10 ZRG1 RPHB-V (02) M, Interventions and Mechanisms for Addictions
03/2017         Invited Member and Reviewer, Medication Assisted Treatment Promising Practices Guidelines Round Table,
                National Institute of Corrections, Department of Justice.
09/2017         Invited Reviewer, SAMHSA Treatment Improvement Protocol, Medications for Opioid Use Disorders.
10/2017         NIDA Special Emphasis Panel ZDA1 HXO-H (17), Hepatitis C Virus (HCV) Advanced Molecular Detection in
                Support of Systems for Prevention, Treatment and Control of HIV, HCV and Related Comorbidities in Rural
                Communities Affected by Opioid Injection Drug Epidemics
10/2017         Reviewer, NIH ZGM1 RCB-C(C1), P20 Centers of Biomedical Research Excellence
10/2019         Reviewer, NIH/NIDA BDCN-W(90) Special Emphasis Study Section

Advisory Boards and Consultant Positions
10/2010-06/2015 Community Treatment Representative, NIDA Clinical Trials Network, Greater NY Node
10/2012-        Medical Expert, NYS Office of Medical Conduct
06/2012-        Member, New York State Office of Alcoholism and Substance Abuse Services, Commissioner’s Medical Advisory
                Committee
06/2015-06/2016 Co-Chair of NIDA Clinical Trials Network Opioid Task Force and Steering Committee Panel
05/2016         Chair, SAMHSA/CSAT Clinical Advances in Non-Agonist Therapies Meeting and Report, Rockville, MD
01/2017-06/2018 Expert Witness, State Attorney Generals, Opioid Litigation
08/2019-        Steering Committee Member, Justice and Community Opioid Innovation Network
08/2019-        Co-Chair, Justice and Community Opioid Innovation Network, Medications for Opioid Use Disorder Working
                Group
03/2020-        Science Advisor, Oar Health LLC

Organizing Roles in Scientific Meetings
04/2012-        Member, Program Committee, Medical-Scientific Annual Meeting, American Society of Addiction Medicine
03/2013-04/2017 Board of Directors and Research Co-Chair, Academic Consortium for Criminal Justice Health (ACCJH)

Editorial and Journal Positions
07/2005-        Ad hoc reviewer, Substance Abuse
07/2005         Ad hoc reviewer, Health Education Research
10/2006-        Ad hoc reviewer, Addiction
11/2006         Ad hoc reviewer, AIDS Reader
12/2006-        Ad hoc reviewer, Journal of Urban Health
11/2007-        Ad hoc reviewer, Journal of General Internal Medicine
07/2007-        Ad hoc reviewer, Annals of Internal Medicine
06/2010-        Ad hoc reviewer, Drug and Alcohol Dependence
07/2011-        Member, Editorial Board, Addiction Science & Clinical Practice
08/2011-        Member, Editorial board, Journal of Substance Abuse Treatment
06/2012-        Ad hoc reviewer, Journal of Addiction Medicine
04/2013-        Member, Editorial Board, Substance Use and Misuse
11/2014-        Ad hoc reviewer, Journal of Contemporary Clinical Trials
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06/2015-         Ad hoc reviewer, American Journal of Addiction
10/2017          Ad hoc reviewer, The Lancet HIV
09/2017          Ad hoc reviewer, American Journal of Drug and Alcohol Abuse
08/2019          Ad hoc reviewer, New England Journal of Medicine
03/2019-         Ad hoc reviewer, The Lancet

Community Service, Volunteer Activities, and Teaching of Patients
2008-2012        Board of Directors, Alcoholism Council of New York, New York, NY
2011-2012        Secretary of the Board, Alcoholism Council of New York, New York, NY

Military Service
None

Bibliography
Publications
Peer-reviewed publications
1. Lee JD, Vlahov D, Freudenberg N. Factors Associated with Primary Care Utilization and Health Insurance Among Women Released
from Jail. J Health Care Poor Underserved 17(1);2006:200-217.PMID:16520527

2. Mann D, Lee J, Liao Y, Natarajan S. Independent effect and population impact of obesity on fatal coronary heart disease in adults.
Prev Med 42(1);2006:66-72.PMID:16297443

3. Lee JD, Triola M, Gillespie C, Gourevitch MN, Truncali A, Hanley K, Zabar S, Kalet A. Working with patients with alcohol problems:
a controlled trial of the impact of a rich media web module on medical student performance. J Gen Intern Med 23(7);2008:1006-
1009.PMID:18612733

4. Magura S, Lee JD, Hershberger J, Joseph H, Marsch L, Shropshire C, Rosenblum A. Buprenorphine Maintenance in Jail and Post-
Release: A Randomized Clinical Trial. Drug Alcohol Depend 99(1-3);2009:222-230.PMID:18930603

5. Lee JD, Grossman E, Dirocco D, Gourevitch MN. Home Buprenorphine Induction in Urban Primary Care. J Gen Intern Med
24(2);2009:226-32.PMID:19089508

6. Raven MC, Carrier ER, Lee JD, Billings JC, Marr M, Gourevitch MN. Substance Use Treatment Barriers For Patients with Frequent
Hospital Admissions. J Subst Abus Treat 38(1);2009:22-30.PMID:19540700

7. Lee JD, Grossman E, DiRocco D, Truncali A, Hanley K, Stevens D, Rotrosen J, Gourevitch MN. Extended-Release Naltrexone for
Treatment of Alcohol Dependence in Primary Care. J Subst Abus Treat 39(1);2010:14-21.PMID:20363090

8. Truncali A, Lee JD, Ark T, Gillespie C, Triola M, Hanley K, Gourevitch MN, Kalet AL. Teaching Physicians to Address Unhealthy
Alcohol Use: A Randomized Controlled Trial Assessing the Effect of a Web-based Module on Medical Student Performance. J Subst
Abus Treat 40(2);2011:203-13.PMID:21094015

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Book Chapters, Books
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       Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 22 of 68 PageID #: 2742

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27 & Sept 4, 2008: www.clinicalcorrelations.org.

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Substance Abuse: A Comprehensive Textbook, 5th Edition. Baltimore, MD: Williams & Wiklins, 2011.

6. Brock D, Tofighi B, Lee JD, Fastenberg J, “Alcohol Pharmacotherapies,” In: Saitz R, ed. Addressing Unhealthy Alcohol Use: A
Primary Care Guide. New York: Springer, 2013.

7. McNeely J, Lee JD, Grossman E, “Other Drug Use,” In: Saitz R, Ed. Addressing Unhealthy Alcohol Use: A Primary Care Guide.
New York: Springer, 2013.

8. Schatz D, Lee JD, “Prevention, Treatment, and Harm Reduction Approaches to Opioid Overdoses,” In: Goldfrank’s Toxicologic
Emergencies, Tenth Edition. New York: McGraw-Hill Medical, 2019.

9. Nagami E, Rich J, Lee JD, “Screening for public purpose: promoting an evidence-based approach to screening of inmates to improve
the public health,” In: Greifinger R, ed. Public Health is Public Safety, Improving Public health through Correctional Health Care, 2nd
Edition. New York: Springer Publishing, 2021.

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Toxicologic Emergencies, 11th Edition. New York: McGraw-Hill Medical, 2022.

11. Wakeman SE, Lee JD, Alvanzo, AAH, Eds. Pocket Addiction Medicine (a Pocket Notebook). Wolters Kluwer, 2023.

12. Lee D, Schatz D, Lee JD, “Prevention, Treatment, and Harm Reduction Approaches to Opioid Overdoses,” In: Goldfrank’s
Toxicologic Emergencies, 11th Edition. New York: McGraw-Hill Medical, 2023.

Meeting reports, consensus reports, practice guidelines and any other publication
1. McNeely J, Gourevitch MN, Heller D, Paone D, Lee JD. Improving the health of people who use drugs. City Health Information.
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2. Lee JD, Extended-Release Naltrexone. Drug Court Practitioner Fact Sheet, Sept 2013, 8(2). National Drug Court Institute:
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3. Substance Abuse and Mental Health Service Administration. Clinical Advances in Non-agonist Therapies: Report of Proceedings
(Chair: Lee JD), Rockville, MD, May 11, 2016: www.samhsa.gov/sites/default/files/programs_campaigns/
medication_assisted/advances-non-agonist-therapies.pdf
Media appearances
Our studies and work, in particular publications in NEJM (2016) and The Lancet (2017-8) has been cover extensively in the NYT,
WSJ, Washington Post, CNN, Boston Globe, NPR, PBS NewsHour, Pro Publica, STATNews, ADAWeekly, BU’s Alcohol Drug Use
and Health Newsletter, and many regional news outlets. Dr. Lee is a frequent print, radio, and television interview on topics related to
the opioid epidemic, OUD treatments, and CJS reforms. See likes and retweets at twitter/@DrJoshuaDLee

Other media including research and analytic tools
Lee JD, Truncali A, Kalet A, Triola M, “Reducing High Risk Drinking: an Online Learning Module.” New York: Advanced Educational
Services, NYUSOM, 2008: http://www.edinfo.med.nyu.edu/alcoholscreening/

Abstracts
Oral and poster presentations
Marienfeld C, Lee JD, Hurley B, Mini-Symposium “Addiction Psychiatry Annual REVIEW: 2023 Highest Impact Publications,”
American Academy of Addiction Psychiatry, Rancho Bernardo, CA (Dec 2023).

Wakeman S, Lee JD, Focused Session, “Annual Review of Principles of Addiction Medicine,” American Society of Addiction Annual
Medical-Scientific Meeting, Washington DC/National Harbor, MD (2023), Hollywood, FL (2022), Virtual (2021, 2020) Orlando, FL
(April 2019), San Diego, CA (April 2018), New Orleans, LA (April 2017), Baltimore, MD (April 2016), Austin, TX (April 2015).


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      Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 23 of 68 PageID #: 2743
LeeJD (Chair), TanumL, NunesEV, RotrosenJ, “Extended-release naltrexone: comparative effectiveness trials and real-world
implications,” Symposium, International Society of Addiction Medicine (Nov 2019) Busan, KOR; ASAM (April 2018) San Diego CA,
AAAP (Dec 2017) San Diego CA.

LeeJD, “X:BOT Trial and Extended-release Naltrexone Comparative Effectiveness,” Invited Symposium Speaker, “NIDA Update on
Opioid Use Disorders,” American Psychiatric Association (May 2018), NY, NY.

Binswanger I, Lee JD, Strick L, Invited Plenary, “Realizing the Potential of Integrating Opioid Use Disorder Treatment into Correctional
Systems,” International Community Corrections Association (Oct 30, 3017), Seattle WA.

Lee JD (Invited Speaker and Panelist), “Predictors of Long-term Outcomes of Opioid Dependence: Implications for Treatment Planning
(CTN),” American Academy of Addiction Psychiatry Annual Meeting, Bonita Springs, FL, Dec 10, 2016; Clinical Trials Network
Steering Committee, Rockville, MD, March 24, 2017.

Lee JD, et al. Podium Presentation, “Low Threshold Office-Based Buprenorphine: Outcomes at Year 7,” College of Problems of Drug
Dependence, Palm Spring, CA, June 14, 2016.

Lee JD (chair). Substance Abuse and Mental Health Service Administration. Clinical Advances in Non-agonist Therapies, Rockville,
MD, May 11, 2016: www.samhsa.gov/sites/default/files/programs_campaigns/
medication_assisted/advances-non-agonist-therapies.pdf

LeeJD, et al. Symposium, “Beyond Cold Turkey: Medication Assisted Treatment in Criminal Justice,” American Public Health
Association, Chicago, IL, Nov 4, 2015.

Lee JD, et al. Podium Presentation, “Extended-Release Naltrexone Opioid Relapse Prevention in CJS-Involved Adults,” College of
Problems of Drug Dependence, Phoenix, AZ, June 14, 2015.

Lee JD (co-chair), ASAM Symposium, Principles in Addiction Medicine Review, ASAM Med-Sci National Meeting, Austin, TX,
April 2015.

Lee JD (chair), symposium, “CJS and MAT”, Academic and Health Policy Conference on Correctional Health, Boston, MA, March
2015

Lee JD (co-chair), Reyes CD, Gustafson D, Marsch L, McNeely J, Rose G, “There’s an App for That! Using Technology in Addiction
Prevention and Treatment,” Symposium, American Society of Addiction Medicine, Orlando, FL, April 11, 2014.

Lee JD (chair), Chandler R, McDonald R, Farabee D, Schwartz R, “Opioid Treatment and CJS Settings: Jail-Based and CJ-DATS
Interventions,” Seminar, Academic and Health Policy Conference on Correctional Health, Houston, TX, Mar. 21, 2014.

Lee JD (chair), Ling W, Crevecoeur-MacPhail D, Nunes E, Rotrosen J, “Extended-Release Naltrexone (XR-NTX): alcohol, opioid and
cocaine treatment and adaptability to community treatment, criminal justice, and primary care populations,” Workshop presentation,
American Academy of Addiction Psychiatry, Scottsdale, AZ, Dec. 6, 2013.

Lee JD (chair), Tofighi B (co-chair), Woody G, Gastfriend D, Bisaga A, Springer S, “Medication Assisted Treatment: Adaptability,
Durability, and Optimization,” Symposium, International Society of Addiction Medicine, Kuala Lumpur, Nov 23, 2013.

Lee JD (chair), Siekel S, Labelle C, “Medication Assisted Therapy,” Pre-Course, American Association for the Treatment of Opioid
Dependence, Philadelphia, PA, Nov. 11, 2013.

Lee JD, McDonald R, Rotrosen J, Gourevitch MN, “Extended-Release Naltrexone Opioid Treatment at Release from Jail,” Podium
presentations, Academic Consortium for Criminal Justice Health, Chicago, IL, March 20, 2013; American Society of Addiction
Medicine, Chicago, IL, April 20, 2013; College for Problems of Drug Dependence, San Diego, CA, June 20, 2013; Association for
Medical Education and Research in Substance Abuse, Washington DC, Nov 9, 2013.

Nunes NV (chair), Lee JD (co-chair). Symposium: “Extending the data on XR-NTX in opioid dependence: Infectious disease, health
professionals, justice systems and cost.” College of Problems of Drug Dependence, Palm Springs, CA, June 14, 2012.

Bisaga A, Sullivan MA, Lee JD, Fishman MJ, Nunes E, “Role of Naltrexone in the Treatment of Opioid Dependence,” American
Association of Addiction Psychiatry (Boca Raton, FL), Dec 4, 2010; American Society of Addiction Medicine (Washington, DC), Apr.
2011; American Society of Addiction Medicine (Atlanta, GA), Apr. 2012.


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      Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 24 of 68 PageID #: 2744
Lee JD, D. Selling, R. McDonald, J.Rotrosen, M.N.Gourevitch, “Opioid Treatment at Release from Jail Using Extended-Release
Naltrexone,” U.Mass Correctional Health Conference (Boston, MA), Mar 9, 2011; International Society of Addiction Medicine (Oslo,
Norway), Sept. 5, 2011; Cape Cod Symposium on Addictive Disorders (Hyannis, MA), Sept 7, 2011.

Lee JD, “Medical Update: Alcoholic Pancreatitis, Treatment and Prevention,” American Association of Addiction Psychiatry (Boca
Raton, FL), Dec 4, 2010.

Lee JD (chair), Batki S, Publicker M, Grossman E, Hanley K, Truncali A, Gourevitch MN, “Workshop: Extended-release naltrexone
(XR-NTX) in general medical and psychiatric settings,” Association of Medical Education and Research in Substance Abuse
(Washington DC), Nov. 2009; American Association of Addiction Psychiatry (Los Angeles, CA), Dec. 2009; American Society of
Addiction Medicine (San Francisco, CA), Apr. 2010.

Lee JD (chair), “Symposium: Pharmacotherapies and Medical Management: Outcomes, Costs, and New Developments,” Addiction
Health Service Research Conference 2009 (San Francisco, CA), Oct. 2009.

Lee JD, “Medical Management in Alcohol Treatment,” in “Symposium: Treating our Client’s Health: Medical Monitoring and
Management of the Addicted Patient,” American Association of Addiction Psychiatry (Boca Raton, FL), Dec. 2008.

Lee JD, Grossman E, DiRocco D, Rotrosen J, Stevens D, Gourevitch MN, “Extended-release Naltrexone (Vivitrol) for Treatment of
Alcohol Dependence in Urban Primary Care,” Poster Presentation, American Society of Addiction Medicine 39th Annual Meeting
(Toronto, ON), April 2008; Society of General Internal Medicine Annual Meeting (Pittsburg, PA), April 2008; College of Problems of
Drug Dependence (San Juan, PR), June 2008; Research Studies on Alcoholism (Washington DC), July 2008; Addiction Health Services
Research Conference (Boston, MA), Oct 2008; Podium Presentation, Association of Medical Education and Research in Substance
Abuse (Washington DC), Nov 2008; Podium Presentation, American Society of Addiction Medicine 40th Annual Meeting (New Orleans,
LA), May 2009; Society of General Internal Medicine Annual Meeting (Miami, FL), May 2009; College of Problems of Drug
Dependence (Reno, NV), June 2009.

Lee JD, Magura S, Hershberger J, Rosenblum A, Joseph H, Santana N, Marsch L, Shropshire C, Glick A, Liautaud A, “Effectiveness
of buprenorphine maintenance in jail: pilot results and comparisions to community-recruited buprenorphine patients,” Poster
Presentation, College of Problems of Drug Dependence Annual Meeting (Quebec City, ON), June 2007; Podium Presentation, Best
Abstract Award, American Medical Education and Research in Substance Abuse National Meeting (Washington DC), Nov. 2007; Poster
Presentation, Society of General Internal Medicine Annual Meeting (Pittsburg, PA), April 2008.

Lee JD, Grossman E, DiRocco D, Gourevitch MN, “Home buprenorphine induction in urban primary care,” Podium Presentation,
American Medical Education and Research in Substance Abuse National Meeting (Washington DC), Nov. 2007; Poster Presentation,
American Society of Addiction Medicine 39th Annual Meeting (Toronto, ON); Society of General Internal Medicine Annual Meeting
(Pittsburg, PA), April 2008

Rich J, Baxter J, Lee JD, et al, “Medication Assisted Treatment for Opiate Addiction in Correctional Settings,” Workshop, Academic
and Health Policy Correctional Health Conference, University of Massachusetts Medical School (Quincy, MA), March 2007; American
Society of Addiction Medicine, National Meeting (Miami, FL), April 2007; Podium Presentation, National Roundtable Meeting on
Medication Assisted Therapy and Harm Reduction in Correctional Settings, American Correctional Health Service Association (Reno,
NV), June 5, 2007; Workshop, Academic and Health Policy Correctional Health Conference, University of Massachusetts Medical
School (Quincy, MA), March 2008

Lee JD, Gillespie C, Gourevitch MN, Hanley K, Jay M, Paik S, Richter R, Triola M, Zabar S, Kalet A, “Impact of a web-based alcohol
screening and brief intervention module,” Abstract Semifinalist, Podium Presentation, American Medical Education and Research in
Substance Abuse National Meeting (Washington DC), Nov. 2006; Outstanding Abstract, Interactive Resources in Medical Education,
Podium Presentation, Society of General Internal Medicine Annual Meeting (Toronto, ON), April 2007; American Medical Education
and Research in Substance Abuse National Meeting (Washington DC), Nov. 2007

Lee JD, Delbanco B, Gourevitch M, “Substance Abuse Screening Strategies and Prevalence in an Urban Safety Net Primary Care
Population,” Finalist, Milton W. Hamolsky Junior Faculty Award, Podium Presentation, Society of General Internal Medicine Annual
Meeting (Toronto, ON), April 2007.

Lee J, Allegrante J, Ompad D, Vlahov D, “Attitudes toward Heroin and Cocaine Routes of Administration,” National Research Service
Award Trainees Research Conference, Podium Presentation (Boston, MA), June 2005; Poster Presentation (Sand Diego, CA), June
2004.




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       Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 25 of 68 PageID #: 2745
Lee JD, Vlahov D, Freudenberg N, “Factors Associated with Primary Care Utilization and Health Insurance Among Women Released
from Jail,” Poster Presentation, Society of General Internal Medicine National (New Orleans, LA) and Mid-Atlantic Regional (New
York, NY) Meeting, May 2005.

Lee JD, Allegrante J, Ompad D, Vlahov D, “Attitudes toward Hepatitis C Prevention and Jail-Based Interventions Among NYC
Substance Users: Results from Qualitative Interviews,” Poster Presentation, Society of General Internal Medicine Mid-Atlantic Regional
Meeting (New York, NY), March 2005.

Lee JD, Mann D, Natarajan S, “Diet and Elevated C-Reactive Protein in U.S. Adults,” Poster Presentation, Society of General Internal
Medicine (Chicago, IL), May 2004.

Mann D, Lee JD, Y. Liao, Natarajan S, “Population Impact of Obesity on Fatal Coronary Heart Disease in U.S. Adults,” Poster
Presentation, Society of General Internal Medicine (Chicago, IL), May 2004.

Mann D, Lee JD, Natarajan S, “Independent Effect and population Impact of Obesity on Fatal Coronary Heart Disease in Adults,”
Poster Presentation, American Heart Association, Cardiovascular Disease Epidemiology and Prevention (San Francisco, CA), May
2004.

Lee JD (chair), Finlay A (co-chair), “Creating the Resident Advocate: a Curriculum for Change: NYU Division of Primary Care Health
Policy Curriculum,” Workshop Presentation, Society of General Medicine (Vancouver, BC), April 2003.

Patents
None




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                           Exhibit B
Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 27 of 68 PageID #: 2747




                               Curriculum Vitae

                      Michael J. Coyer, Ph.D., F-ABFT
                         2150 Becks Crossing Road
                         Madison Twp., PA, 18444
                             Ph. 570-209-7913
                            Cell 570-351-6153
                          Email:drcoyer@msn.com

    1964                    Born 22 March, 1964, Dunmore, PA


    Education:
    1982-1986               B.S. in Chemistry, Minor in Philosophy,
                            Special Jesuit Liberal Arts Honor Student
                            Who's Who Among College Students
                            Phi Lamda Upsilon Chemical National Honor Society
                            University of Scranton, Scranton, PA

    1986-1988               Graduate Studies/Teaching Assistant, Chemistry
                            Sigma Xi Chemical National Honor Society
                            University of Oklahoma, Norman, OK
                            Director: Jerry J. Zuckerman, Ph.D.

    1988-1991               J.R.L. Morgan Fellow, Department of Chemistry
                            Teaching Assistant (Organic/Analytical Chemistry)
                            Rutgers - The State University of New Jersey,
                            New Brunswick, NJ

    1991                    Ph.D. - Inorganic/Physical Chemistry,
                            Rutgers - The State University of New Jersey,
                            New Brunswick, NJ
                            Director: Rolfe Herber, Ph.D.
    Experience:
    2012-Present            New York State CLEP Laboratory Director
                            NY Certificate CQ ID#: COYEM1


    2012-Present            DRUGSCAN, Inc., An ACM Global Laboratory, Horsham, PA
                            Retained as an expert in Forensic Toxicology/ Pharmacology for
                            the City of Philadelphia. Responsibilities include reviewing all
                            toxicology reports and court supporting testimony whenever
                            necessary.
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    2012-Present            Labcorp, Raritan, NJ -- Retained as an Associate Director of
                            Toxicology for the Occupational Testing Service (OTS).
                            Responsibilities include reviewing all standard operating
                            procedures, method validations and proficiency testing.

    2011-Present            Laboratory Research Director,
                            Princeton Analytical (ID #35-04831), Dunmore, PA.
                            Responsibilities include supervision of all testing and quality
                            control measures involved in the environmental analysis and
                            reporting of various types of water samples.

    2005-Present            Laboratory Research Director,
                            Northern Tier Research (CLIA ID# 39D1050690), Dunmore, PA.
                            Responsibilities include daily operations and supervision of all
                            aspects, technical research, and development. Oversee general
                            clinical and forensic laboratory analysis and reporting.

    2003-2005               Technical Director/ Operations Manager,
                            Clinical Laboratories, Inc. A Labcorp Company, Throop, PA.
                            Responsibilities include daily operations and supervision of all
                            aspects, technical and managerial, of the full clinical testing
                            laboratory and forensic toxicology laboratory facility.

    1999–2003               Toxicology Supervisor,
                            Clinical Laboratories, Inc., A Labcorp Company, Throop, PA.
                            Responsibilities included overseeing forensic/toxicological/
                            environmental toxicology laboratory procedures, training, and
                            quality assurance.

    1996-Present            Laboratory Director, PPL Susquehanna Nuclear Power Plant,
                            Berwick, PA. Responsibilities included overseeing forensic
                            drug testing laboratory at nuclear power plant site. Implement
                            Nuclear Regulatory Commission (NRC) guidelines specified
                            in 10 CFR 26 Federal Regulations.

    2002-Present            Member – Society of Forensic Toxicology (SOFT).

    2015-Present            Member – American Association of Clinical Chemistry (AACC).

    2002-Present            Certified by The American Board of Forensic Toxicology, for
                            Fellow status - Certification # 1068, October, 2002.
                            Currently re-certified through 2027.

    1996-2000               Science Department, Marywood College, Scranton, PA.
                            Adjunct Faculty       Courses taught in:
                                                  -Forensic Science/Philosophy
                                                  -Environmental Monitoring
                                                  -Senior Advisor for seminar projects.

    2000-2005               College of American Pathologist laboratory site inspector.
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    1993-1999               Director, Sierra Analytical Laboratories, Dunmore, PA.
                            Responsibilities included overseeing forensic/toxicological/
                            environmental laboratory procedures, training, and quality
                            assurance as well as daily financial and managerial operations.

    1992-1993               Director, TOXI-CON Laboratory, Scranton, PA.
                            Responsibilities included overseeing forensic/toxicological
                            laboratory procedures, training, and quality assurance.
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                           Exhibit C
              Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 31 of 68 PageID #: 2751
                                             The Curriculum Vitae of



                                      KHODY R. DE T WILER
                                                      Forensic Document Examiner



                         C ONTAC T        PROFE SSI ONA L PROFILE

                                          In my capacity as a Forensic Document Examiner (“FDE”), specializing in handwriting
    khody@lesnevich.com
                                          and signature analysis, I provide comprehensive, con dential reports and high-quality
              linkedin.com/in/            demonstrative exhibits tailored for a diverse client base. This includes legal
             khody-r-detwiler             professionals, state and federal law enforcement agencies, medium-to-large sized
                                          businesses, insurance companies, Fortune 500 corporations, and a host of private
   7550 Woodbury Pike                     clientele. My primary objective in every case is to provide my clients with the expert
Roaring Spring, PA 16673
                                          insights required to make informed decisions concerning the nature or authenticity of
           Roaring Spring, PA             written or digital documents, thereby enabling them to approach legal proceedings
              814.793.2377                with con dence whenever required.
                Pittsburgh, PA
                412.430.3887              HIGHLIGHTS/ MAJOR CASE S
              Philadelphia, PA
               215.800.0120               PAUL D. CEGLIA vs. MARK ELLIOT ZUCKERBERG AND FACEBOOK INC.
                                          • Retained by counsel representing Mark Zuckerberg and Facebook in a breach of contract
                   Chicago, IL
                                            action brought in Federal Court in Buffalo, New York; alleging a multi-billion-dollar
                312.236.5186
                                            ownership interest in Facebook.
                St. Louis, MO
               636.530.7722               THE ISLAMIC BANK OF ASIA LTD., vs. AHMAD HAMAD ALGOSAIBI & BROTHERS CO.
                                          (SINGAPORE)
     www.lesnevich.com                    • Retained by counsel representing the Islamic Bank of Asia Ltd. in a matter involving multiple
                                            fraud claims in connection with a series of multi-million-dollar banking transactions
                             SKILLS         originating from Singapore and Saudi Arabia.

                                          CHEVRON vs. DONZINGER, ET. AL., (SDNY); AGUINDA v. CHEVRON (LAGO AGRIO,
           Civil & Criminal Litigation    ECUADOR); CHEVRON v. REPUBLIC OF ECUADOR (THE HAGUE, NETHERLANDS)
          Expert Witness Testimony        • Retained by counsel representing Chevron Corporation in several different international
                                            legal proceedings stemming from a multi-billion-dollar environmental lawsuit originating
         Courtroom Demonstratives           from Lago Agrio, Ecuador.
  Civil & Criminal Investigations
                                          ALGOSAIBI (AHAB) vs. MAAN AL SANEA (SAAD GROUP)
                                          (AL KHOBAR, SAUDI ARABIA)
                         SERVIC E S       • Retained by counsel representing Saudi businessman, Maan Al Sanea, in a matter involving
                                            multi-billion-dollar fraud claims in multiple jurisdictions with connections to over 100
                       handwriting and      international banking institutions originating from Saudi Arabia.
                     signature analysis
                                          UNITED STATES v. MICHAEL T. FLYNN
                    forensic consulting   • Retained by counsel representing retired Lieutenant General and former National Security
                                            Advisor of the United States, Michael T. Flynn, in a criminal matter stemming from the Special
               electronic signature         Counsel investigation conducted by special prosecutor, Robert S. Mueller, III.
            analysis and veri cation
                                          LÓPEZ REGUEIRO v. AMERICAN AIRLINES INC., 1:19-CV-23965, (S.D. FLA.)
             forensic document            • Retained by counsel representing American Airlines Inc., in a matter involving substantial
 examination and authentication             economic claims under the Helms-Burton Act related to the contested ownership rights of
  non-destructive ink, paper, and
                                            the Havana International Airport and numerous hotels located in Varadero, Cuba.
electrostatic indentation analysis                                                            Khody R. Detwiler CV (5/24) - Page 1 of 21
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          Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 32 of 68 PageID #: 2752
                                         The Curriculum Vitae of



                                           KHODY R. DE T WILER
                                                        Forensic Document Examiner



                          C ONTAC T         HIGHLIGHTS/ MAJOR CASE S continued

                                            FLETCHER ET AL. vs. DOIG ET AL. (CHICAGO, ILLINOIS)
    khody@lesnevich.com
                                            • Retained by counsel representing famed European artist, Peter Doig, in a civil action brought
                                              in Federal Court in Chicago, Illinois; pertaining to the authentication of a purported original
          linkedin.com/in/
         khody-r-detwiler
                                              “Peter Doig” painting; with an estimated value in excess of 10 million dollars.

   7550 Woodbury Pike                       REPUBLIC OF GUINEA - SIMANDOU MINING RIGHTS
Roaring Spring, PA 16673                    • Retained by counsel representing the interests of a large international mining rm in a
        Roaring Spring, PA                    matter stemming from allegations that the multi-billion-dollar mining rights to Simandou
           814.793.2377                       (a large untapped deposit of high grade iron ore located in the Republic of Guinea) were
                                              secured through bribery, corruption, and fraud.
                 Pittsburgh, PA
                 412.430.3887               ESTATE OF BADRI “ARKADY” PATARKATSISHVILI (TBILISI, REPUBLIC OF GEORGIA)
          Philadelphia, PA                  • Assisted on a matter in which our rm was retained by counsel representing the multi-
           215.800.0120                       billion-dollar business estate of former Georgian presidential candidate, Badri “Arkady”
                    Chicago, IL
                                              Patarkatsishvili, originating from Tbilisi, Georgia.
                 312.236.5186
                                            SANUM INVESTMENTS LTD vs. GOVERNMENT OF THE LAO PEOPLE’S
                 St. Louis, MO              DEMOCRATIC REPUBLIC
                636.530.7722                • Retained by counsel representing Macau-based Sanum Investments, and Netherlands-
                                              based Lao Holdings, NV in bilateral investment treaty arbitration claims against the
    www.lesnevich.com                         Government of Laos.

                              SKILLS        KASEM NARONGDEJ vs. GOLDEN MUSIC LIMITED (ET AL.)
                                            (HONG KONG, PEOPLE’S REPUBLIC OF CHINA AND BANGKOK, THAILAND)
                                            • Retained by counsel representing Dr. Kasem Narongdej in a matter involving the fraudulent
       Civil & Criminal Litigation            misappropriation of corporate shares that resulted in a multi-billion-dollar family dispute
      Expert Witness Testimony                with implications in multiple international jurisdictions.

     Courtroom Demonstratives               PEOPLE v. CORY BYRD (IND. #2011-749) & PEOPLE v. DAVID STEVENSON
  Civil & Criminal Investigations           (IND. #2013-067)
                                            • Retained by the Orange County District Attorney’s Of ce in Goshen, New York to examine
                                              evidence, and provide expert witness testimony, in two separate highly publicized homicide
                          SERVIC E S          trials involving the murder of a 4-year-old child, and the murder of a 35-year-old mother of
                                              four. Both jury trials resulted in guilty verdicts.
                        handwriting and
                      signature analysis    EXONERATION OF SHAURN THOMAS (PHILADELPHIA, PENNSYLVANIA)
                                            • Retained by the Pennsylvania Innocence Project and Dechert LLP in the successful
                     forensic consulting      exoneration of Shaurn Thomas. Mr. Thomas spent 24 years in a Pennsylvania prison
                                              for a murder that he did not commit.
            electronic signature
         analysis and veri cation           PEOPLE vs. ANTHONY D. MARSHALL AND FRANCIS X. MORRISSEY, JR.
                                            (BROOKE RUSSELL ASTOR ESTATE)
             forensic document              • Assisted on a matter in which our rm was retained by the New York County District
 examination and authentication               Attorney’s Of ce in a highly publicized criminal case involving the Estate of philanthropist,
  non-destructive ink, paper, and
                                              Brooke Russell Astor.
                                                                                                 Khody R. Detwiler CV (5/24) - Page 2 of 21
electrostatic indentation analysis
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                                   KHODY R. DE T WILER
                                                   Forensic Document Examiner



                      C ONTAC T        HIGHLIGHTS/ MAJOR CASE S continued

                                       PEOPLE v. PAMELA BUCHBINDER (IND. NO. 3160/17)
    khody@lesnevich.com
                                       • Retained by the New York County District Attorney’s Of ce in a highly publicized criminal
                                         case relating to the attempted murder of Buchbinder’s former partner, Dr. Michael Weiss.
          linkedin.com/in/
         khody-r-detwiler
                                         On September 7, 2022, Buchbinder entered into a plea agreement and was later sentenced
                                         to 11 years in New York State Prison.
   7550 Woodbury Pike
Roaring Spring, PA 16673               JORGE YARUR BASCUÑAN, TARASCONA CORP. v. DANIEL YARUR ELSACA,
        Roaring Spring, PA             CRISTIÁN JARA TAITO, OSCAR BRETÓN DIEGUEZ, GM & E ASSET MGMT. S.A.,
           814.793.2377                FINTAIR FIN. CORP., 338 F. SUPP. 3D 301 (2018)
                                       • Retained by counsel representing Mr. Daniel Yarur Elsa, former superintendent of the
             Pittsburgh, PA
                                         Chilean equivalent of the Securities and Exchange Commission, in active litigation in the
             412.430.3887
                                         Southern District of New York involving RICO and quantum merit claims, as well as
          Philadelphia, PA               litigation in Chile and the British Virgin Islands.
           215.800.0120
                Chicago, IL
                                       FUENTES TELLEZ v. VERGARA MADRIGAL
             312.236.5186              • Retained by counsel representing the late Mexican businessman, Jorge Carlos Vergara
                                         Madrigal, in litigation concerning the ownership and control of one of the largest business
             St. Louis, MO               conglomerates in Mexico.
            636.530.7722
                                       ESTATE OF LUCIA REGINA MOREIRA SALLES (RIO DE JANEIRO, BRAZIL)
    www.lesnevich.com                  • Retained by counsel representing the executor of the Estate interests of philanthropist,
                                         Lucia Regina Moreira Salles in a contested Will matter originating in Rio de Janeiro, Brazil.
                            SKILLS
                                       THE CHURCH OF CHRIST, SCIENTIST - THE MARY BAKER EDDY LIBRARY
                                       (BOSTON, MASSACHUSETTS)
       Civil & Criminal Litigation     • Retained by The Church of Christ, Scientist in Boston, Massachusetts to conduct a series of
      Expert Witness Testimony           forensic document examinations and handwriting examinations on a volume of highly
                                         contentious historical records dating back to the early 1900’s pertaining to the Church’s
     Courtroom Demonstratives            founder, Mary Baker Eddy.
  Civil & Criminal Investigations
                                       SANTA MONICA EQUITY INC. v. CHRISTELLE FILA NZOLOLO
                                       (HONG KONG, PEOPLE’S REPUBLIC OF CHINA)
                      SERVIC E S       • Retained by counsel representing the business interests of Santa Monica, Inc., a Marshall
                                         Islands company bene cially owned by the late Mr. George Catsiapis, in a matter involving
                    handwriting and      the alleged misappropriation of substantial business funds by Christelle Fila Nzololo. On
                  signature analysis     January 6, 2022, I presented evidence before the High Court of the Hong Kong Special
                                         Administrative Region in a contempt proceeding related to this matter.
                 forensic consulting
                                       ESTATE TRUSTEES OF BARRY SHERMAN AND HONEY SHERMAN
            electronic signature       (ONTARIO, CANADA)
         analysis and veri cation      • Retained by counsel representing the Estate Trustees of the multi-billion-dollar Estates
             forensic document
                                         of Canadian businessman and philanthropist, Dr. Barry Sherman and his wife, Honey
 examination and authentication          Sherman, in legal proceedings against one of Canada’s largest news outlets.

  non-destructive ink, paper, and
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                                                  KHODY R. DE T WILER
                                                                        Forensic Document Examiner



                                  C ONTAC T             HIGHLIGHTS/ MAJOR CASE S continued

                                                        ESTATE OF DR. GHAITH RASHAD PHARAON (SAUDI ARABIA)
        khody@lesnevich.com                             • Retained by counsel representing the contested Estate interests of Saudi billionaire
                                                          businessman, Dr. Ghaith Rashad Pharaon.
                   linkedin.com/in/
                  khody-r-detwiler
                                                        COMMONWEALTH v. MYRLE EVELYN MILLER (CP-60-CR-0000229-2021)
   7550 Woodbury Pike                                   • Retained by the Pennsylvania Of ce of Attorney General to examine evidence, and
Roaring Spring, PA 16673                                  provide expert witness testimony, in a highly publicized homicide trial involving the
                Roaring Spring, PA                        murder of 77-year-old John W. Nichols by his former spouse, Myrle [Nichols] Miller.
                   814.793.2377                           The jury returned a unanimous guilty verdict on all charges.
                         Pittsburgh, PA
                         412.430.3887                   TRAINING EXPERIENCE/EMPLOYMENT
                       Philadelphia, PA
                        215.800.0120                    LESNEVICH & DETWILER - FORENSIC DOCUMENT LABORATORY
                            Chicago, IL                 Forensic Document Examiner: December 2008 - Present | Partner 2011
                         312.236.5186
                         St. Louis, MO                  Following the mandatory senior internship sponsored by Penn State University,
                        636.530.7722                    I continued with the formal training program in the eld of Forensic Document
                                                        Examination. Under the direct supervision and instruction of Gus R. Lesnevich,
         www.lesnevich.com                              the training program was comprised of a full-time period of 24 months (2 years)
                                                        of in-person training. This comprehensive training program covered all facets of
                                      SKILLS            the Forensic Document Examination eld.

                                                        I received my initial training in accordance with the standard guidelines set forth
                Civil & Criminal Litigation             by the Scienti c Working Group for Forensic Document Examination (SWGDOC),
           Expert Witness Testimony                     Standard for Minimum Training Requirements for Forensic Document Examiners (formerly,
         Courtroom Demonstratives                       ASTM International Standard Designation-2388-11 [05]). My training covered various
                                                        speci c areas of instruction related to forensic document examination, which include:
       Civil & Criminal Investigations
                                                        • Evidence Handling Procedures                     • Examination Procedures
                                  SERVIC E S            • Handwriting/Printing Examination                 • Print Processes Identi cation
                                                        • Photography and Digital Imaging                  • Photocopiers/Facsimiles Analysis
                                                        • Alterations, Obliterations, and Erasures         • Mechanical Impression Analysis
                                handwriting and         • Specialized Lighting Techniques                  • Paper and Font Analysis
                              signature analysis        • Expert Witness and Legal Proceedings             • Spectral Ink Analysis (i.e., VSC®)
                                                        • Electronic Signature Analysis (e-Sig)            • Indentation Analysis (i.e., EDD/ESDA®)
                             forensic consulting        • Demonstrative Court Chart Production             • Forensic Research and Review
                                                        • Expert Testimony (Courtroom and Deposition)      • Report Preparation
                    electronic signature
                 analysis and veri cation               Thought the course of my training, I was also assigned the responsibility of conducting
                                                        case-speci c research and literature reviews for each of the individual cases submitted
                  forensic document
      examination and authentication                    to our laboratory for analysis. This entailed thorough examination and study of the
                                                        leading authoritative texts and peer-reviewed journals published in the eld of Forensic
  non-destructive ink, paper, and                       Document Examination.                             Khody R. Detwiler CV (5/24) - Page 4 of 21
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                                   KHODY R. DE T WILER
                                                   Forensic Document Examiner



                      C ONTAC T        TEC HNICA L TRAINING


    khody@lesnevich.com                TECHNICAL TRAINING BY FOSTER + FREEMAN® USA INC.
                                       (Sterling, Virginia - September 2, 2009)
          linkedin.com/in/             • Non-Destructive Spectral Ink Analysis-Video Spectral Comparator (VSC®)
         khody-r-detwiler
                                                - Models: VSC®6000/HS, VSC®2000/HR, and VSC®400
   7550 Woodbury Pike                  • Non-Destructive IndentationAnalysis - Electrostatic Detection Apparatus (ESDA®)
Roaring Spring, PA 16673                        - Models: ESDA®2 and ESDA®Lite
        Roaring Spring, PA
           814.793.2377                TECHNICAL TRAINING IN PHOTOGRAPHY AND DIGITAL IMAGING SOFTWARE
             Pittsburgh, PA            (Martinsburg, Pennsylvania)
             412.430.3887              • Instruction in Adobe Products by professional photographer Gerald T. Leidy
          Philadelphia, PA             • Following graduation from the Brooks Institute of Photography in Santa Barbara,
           215.800.0120                  California, Mr. Leidy enlisted with the United States Navy - Atlantic Fleet Combat
                Chicago, IL              Camera Group stationed in Norfolk, Virginia. In 1974, after serving four years with
             312.236.5186                the United States Navy, Mr. Leidy established, and currently maintains, a professional
             St. Louis, MO               photography studio located in Martinsburg, Pennsylvania.
            636.530.7722
                                       APPLETON PAPERS SECURITY PAPER SCHOOL
    www.lesnevich.com                  (Roaring Spring, Pennsylvania - December 1, 2011)
                                       • Overview of the various paper making and dandy roll processes
                          SKILLS       • Detailed review of the different watermarking methods and their speci c
                                         applications to securities technology and anti-counterfeiting efforts

       Civil & Criminal Litigation
                                       FUNDAMENTALS OF FORENSIC QUESTIONED DOCUMENTS
      Expert Witness Testimony         Continuing & Professional Education Certi cate Program through West Virginia
     Courtroom Demonstratives          University (November 2012)
                                       • Instructed by Anthony Iten of West Virginia University
  Civil & Criminal Investigations
                                       ADVANCED VIDEO SPECTRAL COMPARATOR (VSC®) WORKSHOP
                      SERVIC E S
                                       (Indianapolis, Indiana - August 29, 2013)
                                       • Instructed by Foster + Freeman® Application Engineers Michael Zontini & Owen Lang
                    handwriting and
                  signature analysis   ROCHESTER INSTITUTE OF TECHNOLOGY - PRINTING PROCESS IDENTIFICATION
                                       AND IMAGE ANALYSIS FOR FORENSIC DOCUMENT EXAMINERS SEMINAR
                 forensic consulting
                                       (Rochester, New York - November 12-15, 2013)
            electronic signature       • Some of the topics of instruction included the following:
         analysis and veri cation             - Traditional and Digital Printing Process Identi cation and Discrimination
                                              - Image Analysis and Digital Image Processing
             forensic document
 examination and authentication               - Security Inks and Security Papers

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                                    KHODY R. DE T WILER
                                                    Forensic Document Examiner



                       C ONTAC T        TEC HNICA L TRAINING continued


       khody@lesnevich.com              ADVANCED VIDEO SPECTRAL COMPARATOR (VSC®) WORKSHOP
                                        (Honolulu, Hawaii - August 15, 2014)
            linkedin.com/in/            • Instructed by Foster + Freeman® Application Engineers Michael Zontini & F.L. Jim Lee
           khody-r-detwiler
   7550 Woodbury Pike                   VIDEO SPECTRAL COMPARATOR (VSC®) & ELECTROSTATIC DETECTION
Roaring Spring, PA 16673                APPARATUS (ESDA®) TECHNOLOGY: EXPLAINING TO THE LAYPERSON
         Roaring Spring, PA             (San Diego, California - September 1, 2017)
            814.793.2377                • Instructed by Foster + Freeman Application Engineer Michael Zontini
              Pittsburgh, PA
              412.430.3887              PIKASO WRITE-ON 3.0 DOCUMENT COMPARISON SOFTWARE WORKSHOP
            Philadelphia, PA            (Park City, Utah - August 18, 2018)
             215.800.0120               • Instructed by Pierre Goudreault and Brian Lindblom
                 Chicago, IL
              312.236.5186              CENTER FOR STATISTICS AND APPLICATIONS IN FORENSIC SCIENCE (CSAFE)
              St. Louis, MO             FORENSIC TRAINING COURSES
             636.530.7722               (Handwriting Analysis - March 11, 2021)
       www.lesnevich.com                (Statistical Thinking for Forensic Practitioners, Session 1 - March 26, 2021)
                                        (Statistical Thinking for Forensic Practitioners, Session 2 - April 9, 2021)
                           SKILLS       (Statistical Thinking for Forensic Practitioners, Session 3 - April 23, 2021)
                                        • These courses were designed to introduce fundamental concepts of probability and
                                          statistics related to forensic issues and explore how they can be applied to assess the
         Civil & Criminal Litigation
                                          probative value of forensic evidence.
        Expert Witness Testimony
                                        • Instructed by Hal Stern of the University of California, Irvine and Alicia Carriquiry of
       Courtroom Demonstratives           Iowa State University
   Civil & Criminal Investigations
                                        FORENSIC DOCUMENT EXAMINATION PAPER MANUFACTURING AND PRINT
                       SERVIC E S       PROCESS TWO -DAY TRAINING SEMINAR
                                        (DAY 1: American Eagle Paper Mills - Tyrone, Pennsylvania - May 12, 2022)
                     handwriting and    • Overview and hands-on access to the various paper making and dandy roll processes
                   signature analysis     (including sheeting of paper for cut size and folio, quality assurance procedures, paper
                                          staining and chemical considerations, paper recycling techniques, and paper nishing).
                  forensic consulting
                                        • Detailed review of the different watermarking and security ber methods and their
             electronic signature         speci c applications to securities technology and anti-counterfeiting measures.
          analysis and veri cation      (DAY 2: NPC, Inc., - Claysburg, Pennsylvania - May 13, 2022)
                                        • Overview and hands-on access to the various commercial printing processes — analog
             forensic document
                                          and digital (i.e., offset, high speed inkjet, and laser).
 examination and authentication
                                        • Comprehensive review and live demonstration of the entire offset plate setting
  non-destructive ink, paper, and         process.
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                                   KHODY R. DE T WILER
                                                   Forensic Document Examiner



                        C ONTAC T      EDUCATI ON


    khody@lesnevich.com                BACHELOR OF SCIENCE DEGREE - CRIMINAL JUSTICE (BS)
                                       THE PENNSYLVANIA STATE UNIVERSITY
          linkedin.com/in/
                                       UNIVERSITY PARK, PENNSYLVANIA
         khody-r-detwiler
                                       2005 - 2009
   7550 Woodbury Pike
Roaring Spring, PA 16673               • Deans List Honors
                                       • From August through December of 2008, I completed a mandatory semester long
        Roaring Spring, PA
           814.793.2377                  internship with Gus R. Lesnevich for partial ful llment of my bachelor’s degree in
             Pittsburgh, PA
                                         the Criminal Justice program at Penn State University.
             412.430.3887
                                       C ONTINUING EDUCATI ON
          Philadelphia, PA
           215.800.0120
                Chicago, IL
                                       DOCUMENT SECURITY ALLIANCE MEETING (DSA)
             312.236.5186              (Washington, DC, United States Secret Service Headquarters - October 20, 2011)
             St. Louis, MO             • Symposium on document security before and after September 11TH 2001
            636.530.7722
                                       AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
    www.lesnevich.com                  64TH ANNUAL SCIENTIFIC MEETING
                                       (Atlanta, Georgia - February 20-25, 2012)
                           SKILLS      • Workshop/Panel Discussion: Flawed Forensics: Recognizing and Challenging
                                         Misleading Forensic Evidence and Disingenuous Expert Testimony
       Civil & Criminal Litigation
      Expert Witness Testimony
                                       AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
                                       65TH ANNUAL SCIENTIFIC MEETING
     Courtroom Demonstratives
                                       (Washington, DC - February 18-23, 2013)
  Civil & Criminal Investigations      • Workshop: Signature Examination of Healthy and Impaired Writers
                                              - (Instructed by Michael Caligiuri & Linton Mohammed)
                        SERVIC E S
                                       • Workshop: Hyper-spectral Imaging - United States Library of Congress
                                              - (Instructed by Fanella G. France & Joseph C. Stevens)
                    handwriting and
                  signature analysis
                                       AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
                 forensic consulting   67TH ANNUAL SCIENTIFIC MEETING
                                       (Orlando, Florida - February 16-21, 2015)
            electronic signature
         analysis and veri cation
                                       • Workshop: Classi cation of Typewritten Documents
                                              - (Instructed by Karen J. Nobles & Peter V. Tytell)
             forensic document         • Workshop: Automating Image Production for Forensic Document Examiners
 examination and authentication
                                              - (Instructed by Mark Goff)
  non-destructive ink, paper, and
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                                   KHODY R. DE T WILER
                                                      Forensic Document Examiner



                      C ONTAC T             C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                     AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
                                            71ST ANNUAL SCIENTIFIC MEETING
          linkedin.com/in/
                                            (Baltimore, Maryland - February 18-23, 2019)
         khody-r-detwiler
                                            • Workshop: Deciphering Complex Electrostatic Detection Device (EDD) Impressions
   7550 Woodbury Pike
Roaring Spring, PA 16673                           -(Instructed by Mark Goff)

        Roaring Spring, PA
                                            AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
           814.793.2377
                                            73RD ANNUAL SCIENTIFIC MEETING
             Pittsburgh, PA
             412.430.3887                   (Virtual Meeting - February 15-19, 2021)
                                            • Workshop: A Complete Introduction to Digitally Captured Signatures (“DCS”) and
          Philadelphia, PA
           215.800.0120                       a Tutorial for Namirial’s Firma Certa Forensic Analysis Tool
                                                    - (Instructed by Nikolaos Kalantzis)
                Chicago, IL
             312.236.5186                   • Workshop: Technology and Design of Security Documents for Counterfeiting and
             St. Louis, MO                    Alteration Resistance
            636.530.7722                            - (Instructed by Joel A. Zlotnick)

    www.lesnevich.com                       AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
                                            74TH ANNUAL SCIENTIFIC MEETING
                          SKILLS            (Seattle, Washington - February 21-25, 2022)
                                            • Workshop: The Application of Evaluative Reporting for Forensic Handwriting
       Civil & Criminal Litigation            Examinations
      Expert Witness Testimony                      - (Instructed by Tobin Tanaka & Miriam Angel)
     Courtroom Demonstratives               • Workshop: Forensic Examination and Evaluation of the Fine and Subtle Elements of
                                              Signatures and Handwriting
  Civil & Criminal Investigations
                                                    - (Instructed by Linton Mohammed & Karen J. Nobles)
                      SERVIC E S
                                            AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                            69TH ANNUAL MEETING
                    handwriting and
                                            (Philadelphia, Pennsylvania - August 20-25, 2011)
                  signature analysis
                                            • Workshop: Printing Process Identi cation for Forensic Document Examiners
                 forensic consulting                - (Instructed by Scott Walters & Jeffrey Payne)
                                            • Workshop: Signature Examination Workshop - Complex Issues and Common
            electronic signature              Problems
         analysis and veri cation
                                                    - (Instructed by Dennis Ryan & Dave Oleksow)
             forensic document              • Workshop: Using Adobe Photoshop in a Forensic Document Work ow
 examination and authentication                     - (Instructed by George Reis)
  non-destructive ink, paper, and
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                                   KHODY R. DE T WILER
                                                 Forensic Document Examiner



                      C ONTAC T        C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                       70TH ANNUAL MEETING
          linkedin.com/in/
                                       (Charleston, South Carolina - August 18-23, 2012)
         khody-r-detwiler
                                       • Workshop: The Individuality of Inkjet Printing
   7550 Woodbury Pike
                                              - (Instructed by Rolf Fauser)
Roaring Spring, PA 16673
                                       • Workshop: Managing Human Factors in the Forensic Sciences
        Roaring Spring, PA                    - (Instructed by Scott Shappell)
           814.793.2377
                                       • Workshop: Kinematic Features of Signature Writing in Persons with
             Pittsburgh, PA              Alzheimer’s Disease
             412.430.3887                     - (Instructed by Linton Mohammed & Michael Caligiuri)
          Philadelphia, PA             • Workshop: Electrostatic Detection Devices (EDD) - Theoretical and Operational
           215.800.0120                  Considerations
                Chicago, IL                   - (Instructed by Dan C. Purdy, Grant Sperry, & Robert Muehlberger)
             312.236.5186
             St. Louis, MO             AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
            636.530.7722               71ST ANNUAL MEETING
                                       (Indianapolis, Indiana - August 24-29, 2013)
    www.lesnevich.com                  • Workshop: Conclusion Scales and Logical Inference
                                               - (Instructed by R. Brent Ostrum)
                          SKILLS       • Workshop: Forensic Examination of Digital Signatures
                                               - (Instructed by William J. Flynn & Kathleen Annunziata Nicolaides)
       Civil & Criminal Litigation     • Workshop: Challenging Signatures
                                               - (Instructed by A. Frank Hicks)
      Expert Witness Testimony
     Courtroom Demonstratives          JOINT ANNUAL MEETING OF THE AMERICAN SOCIETY OF QUESTIONED
  Civil & Criminal Investigations      DOCUMENT EXAMINERS (ASQDE - 72ND) AND THE AUSTRALASIAN SOCIETY OF
                                       FORENSIC DOCUMENT EXAMINERS, INC. (ASFDE, INC — 33RD)
                      SERVIC E S       (Honolulu, Hawaii - August 11-15, 2014)
                                       • Workshop: Skillful Freehand Signature Simulation
                                              - (Instructed by Lloyd Cunningham & Linton Mohammed)
                    handwriting and
                                       • Workshop: Adobe, Digital Media and Evidence
                  signature analysis
                                              - (Instructed by John Penn, II of Adobe)
                 forensic consulting

            electronic signature
         analysis and veri cation

             forensic document
 examination and authentication

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                                   KHODY R. DE T WILER
                                                  Forensic Document Examiner



                      C ONTAC T        C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                       73RD ANNUAL MEETING
          linkedin.com/in/
                                       (Toronto, Canada - August 9-13, 2015)
         khody-r-detwiler
                                       • Workshop: Characteristics of Fountain Pen Writing and Aqueous Ink Analysis
   7550 Woodbury Pike
                                              - (Instructed by Lloyd Cunningham, Valery Aginsky, Linton Mohammed,
Roaring Spring, PA 16673
                                                & William J. Flynn)
        Roaring Spring, PA             • Workshop: Principles of Forensic Examination of Arabic Signatures
           814.793.2377
                                              - (Instructed by Mohammed Aloyoni & Dr. Abdulaziz Alkahtani)
             Pittsburgh, PA
             412.430.3887              AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
          Philadelphia, PA             75TH ANNUAL MEETING
           215.800.0120                (San Diego, California - August 28 through September 1, 2017)
                Chicago, IL            • Workshop: Forensic Science Research: Your Mission to Propose, Innovate
             312.236.5186                and Collaborate
             St. Louis, MO                     - (Instructed by Heather Waltke, Gerald LaPorte, Lisa Hanson, & Melissa Taylor)
            636.530.7722
                                       • Workshop: Preparing a Digital Signature File for Forensic Analysis
    www.lesnevich.com                          - (Instructed by Kathleen Annunziata Nicolaides & William Flynn)
                                       • Workshop: Chinese Handwriting and Signatures Workshop: Hanzi through the Eyes
                          SKILLS         of the Forensic Document Examiner
                                               - (Instructed by Chiew Yung Yang & Chin Chin Lim)
       Civil & Criminal Litigation     • Workshop: Write or Wrong? Bias, Decision-Making and the use of Contextual
                                         Information in Forensic Document Examination
      Expert Witness Testimony
                                               - (Instructed by Niki Osborne, Lloyd Cunningham, & Jane Lewis )
     Courtroom Demonstratives
  Civil & Criminal Investigations      JOINT ANNUAL MEETING OF THE AMERICAN SOCIETY OF QUESTIONED
                                       DOCUMENT EXAMINERS (ASQDE - 76TH ANNUAL MEETING) AND THE
                      SERVIC E S       SOUTHWEST ASSOCIATION OF FORENSIC DOCUMENT EXAMINERS (SWAFDE)
                                       (Park City, Utah - August 19-23, 2018)
                    handwriting and    • Workshop: Mark Hofmann – Master Forger and Murderer (The Mormon Murders &
                  signature analysis     White Salamander Letter)
                 forensic consulting           - (Instructed by George Throckmorton, William J. Flynn, & Lloyd Cunningham)
                                       • Workshop: Latin American Writing
            electronic signature               - (Instructed by Manuel Gonzales, Eric Cedeno, & Leydis Gonzalez)
         analysis and veri cation

             forensic document
 examination and authentication

  non-destructive ink, paper, and
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                                         The Curriculum Vitae of



                                   KHODY R. DE T WILER
                                                    Forensic Document Examiner



                      C ONTAC T        C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                       78TH ANNUAL MEETING
          linkedin.com/in/
         khody-r-detwiler              (Virtual Meeting - August 10 - 13, 2020)
   7550 Woodbury Pike                  • Workshop: Overview of Digital Examination Techniques and Remote Case Review
Roaring Spring, PA 16673                       - (Instructed by Mark Goff)
        Roaring Spring, PA             • Workshop: Opinion Measurement Workshop
           814.793.2377                        - (Instructed by Veronica Dahir, Charles Edwards, Samiah Ibrahim,
             Pittsburgh, PA                      & Jonathan Jackson-Morris)
             412.430.3887
          Philadelphia, PA             AUSTRALASIAN SOCIETY OF FORENSIC DOCUMENT EXAMINERS, INC.
           215.800.0120                (ASFDE, INC.) 40TH ANNUAL MEETING
                Chicago, IL            (Virtual Meeting - May 24 - 28, 2021 )
             312.236.5186              • Workshop: Digital Examination Techniques
             St. Louis, MO                     - (Instructed by Mark Goff)
            636.530.7722               • Workshop: Digitally Captured Signatures
    www.lesnevich.com                          - (Instructed by Jan Zimmer & Nikolaos Kalantzis)
                                       • Workshop: Writing Reports Workshop
                                               - (Instructed by Kristy Martire, Stephanie Summersby, Carolyn Bird,
                          SKILLS
                                                 Gary Edmonds, & Loene Howes)
                                       • Workshop/Discussion: Document Dating (Non-Destructive Techniques,
       Civil & Criminal Litigation
                                         Handwriting and Signatures, and Destructive Techniques
      Expert Witness Testimony
                                               - (Instructed by Samiah Ibrahim)
     Courtroom Demonstratives
  Civil & Criminal Investigations      AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                       79TH ANNUAL MEETING
                      SERVIC E S       (Virtual Meeting - August 10 - 12, 2021 )
                                       • Workshop: Demonstrative Evidence in the Courtroom, An Evaluation and Discussion
                    handwriting and      of Probative and Prejudicial Characteristics of Demonstrative Visual Aids
                  signature analysis           - (Instructed by Mara Merlino, Tobin Tanaka, & Samiah Ibrahim)
                                       • Workshop: Pressure Training Calibration Workshop for Digitally Captured Signatures
                 forensic consulting
                                               - (Instructed by Nikolaos Kalantzis)
            electronic signature       • Workshop: Examination Basics for Adobe PDF les
         analysis and veri cation              - (Instructed by Brent Ostrum)
             forensic document
 examination and authentication

  non-destructive ink, paper, and
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                                         The Curriculum Vitae of



                                   KHODY R. DE T WILER
                                                 Forensic Document Examiner



                      C ONTAC T        C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                AUSTRALASIAN SOCIETY OF FORENSIC DOCUMENT EXAMINERS, INC.
                                       (ASFDE, INC.) 41ST ANNUAL MEETING
          linkedin.com/in/
         khody-r-detwiler              (Virtual Meeting - May 10-13, 2022)
   7550 Woodbury Pike                  • Workshop: Technology and Design of Security Documents
Roaring Spring, PA 16673                       - (Instructed by Joel A. Zlotnick)
        Roaring Spring, PA             • Workshop: Signatures: Disguised or Simulated?
           814.793.2377                        - (Instructed by Carolyne Bird & Nicole Crown)
             Pittsburgh, PA
             412.430.3887              JOINT ANNUAL MEETING OF THE AMERICAN SOCIETY OF QUESTIONED
          Philadelphia, PA             DOCUMENT EXAMINERS (ASQDE - 80TH ANNUAL MEETING) AND THE
           215.800.0120                SOUTHWEST ASSOCIATION OF FORENSIC DOCUMENT EXAMINERS (SWAFDE)
                Chicago, IL            (San Antonio, Texas - August 8-10, 2022)
             312.236.5186              • Workshop: Some Basics on FDE Examination of PDF Documents
             St. Louis, MO                     - (Instructed by Joe Parker & Charlotte Ware)
            636.530.7722               • Workshop: Special Topics in QD for the 21ST Century
    www.lesnevich.com                          - (Instructed by Lloyd Cunningham & Linton Mohammed)
                                       • Workshop: The Robert Durst Case: Revisiting Myths of Handprinting Examinations
                                               - (Instructed by Lloyd Cunningham & Linton Mohammed)
                          SKILLS
                                       • Workshop: What Lies Beneath: Peeling Back the Layers on Forensic Document
                                         Evidence
       Civil & Criminal Litigation
                                               - (Instructed by Roberto King, Richard Wilson & Beth McMurchie)
      Expert Witness Testimony
                                       • Workshop: Forensic Document Examination in the Courtroom: Expectations of,
     Courtroom Demonstratives            and for, the FDE
  Civil & Criminal Investigations              - (Instructed by myself & Karen J. Nobles)

                      SERVIC E S       AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                                       81ST ANNUAL MEETING [JOHN JAY COLLEGE OF CRIMINAL JUSTICE]
                    handwriting and    (New York, New York - August 7-9, 2023 )
                  signature analysis   • Workshop: Taking Advantage of Digitally Captured Signature (DCS) technology &
                 forensic consulting     applying it to pen & paper casework
                                               - (Instructed by Nikolaos Kalantzis)
            electronic signature       • Workshop: Digitally Captured Signature (DCS) visualizations: …from numbers to
         analysis and veri cation
                                         images…to numbers again!
             forensic document                 - (Instructed by Nikolaos Kalantzis)
 examination and authentication
                                       • Workshop: The Seven Habits for Highly Effective Standards Development
  non-destructive ink, paper, and              - (Instructed by Teresa Ambrosius)
                                                                                   Khody R. Detwiler CV (5/24) - Page 12 of 21
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                                   KHODY R. DE T WILER
                                                   Forensic Document Examiner



                        C ONTAC T      C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
                                       ANNUAL MEETING
          linkedin.com/in/
                                       (State College, Pennsylvania - May 19-23, 2014)
         khody-r-detwiler
                                       • Attended various presentations sponsored by the Questioned Documents Section,
   7550 Woodbury Pike
                                         some of the topics of discussion included the following:
Roaring Spring, PA 16673
                                               - Thermal Ribbon Analysis and the Thermal Ribbon Analysis Platform (TRAP)
        Roaring Spring, PA                     - The Use of Photoshop Macros to Simplify the Creation of Working Charts
           814.793.2377
                                               - Spectral Analysis of Documents Subjected to Latent Print Examinations
             Pittsburgh, PA                      utilizing the Video Spectral Comparator (VSC)
             412.430.3887
          Philadelphia, PA             MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS) QUESTIONED
           215.800.0120
                                       DOCUMENTS SECTION FALL WORKSHOP: “VALUABLE SIGNATURES AND
                Chicago, IL            MEMORABILIA” NATIONAL BASEBALL HALL OF FAME
             312.236.5186
                                       (Cooperstown, New York - November 12, 2015)
             St. Louis, MO
                                       • Instructed by the following individuals:
            636.530.7722
                                               - Michael Posner - Manager of Major League Baseball’s Authentication Program
    www.lesnevich.com                          - Special Agent, Brian Brusokas - Art Crime Team (FBI)
                                               - Special Agent, John Iannuzzi - Interstate Robbery Apprehension Team (FBI)
                           SKILLS              - Gregg Mokrzycki - Forensic Document Examiner (FBI)
                                               - Peter J. Belcastro, Jr. - Forensic Document Examiner (FBI)
                                               - Erik Strohl - VP of Exhibitions and Collections - National Baseball Hall of Fame
       Civil & Criminal Litigation
                                               - Jim Gates - Library Director - National Baseball Hall of Fame
      Expert Witness Testimony                 - Sue MacKay - Director of Collections - National Baseball Hall of Fame
     Courtroom Demonstratives
                                       MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
  Civil & Criminal Investigations
                                       ANNUAL MEETING
                        SERVIC E S     (Cambridge, Maryland - May 18-22, 2015)
                                       • Workshop: Forensic Examination of Biometrically Captured e-Signatures
                                             - (Instructed by William Flynn & Kathleen Annunziata Nicolaides)
                    handwriting and
                  signature analysis
                                       MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS) ANNUAL
                 forensic consulting   MEETING
                                       (Richmond, Virginia - May 17-20, 2016)
            electronic signature
         analysis and veri cation      • Workshop: The Application of QD Examinations of the Analysis of Fine Art
                                         and Other Antiques
             forensic document
 examination and authentication
                                              - (Instructed by Gregg Mokrzycki)
                                       • Workshop: Identi cation Science
  non-destructive ink, paper, and             - (Instructed by Stephen McKasson)   Khody R. Detwiler CV (5/24) - Page 13 of 21
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                                   KHODY R. DE T WILER
                                                    Forensic Document Examiner



                      C ONTAC T        C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
                                       ANNUAL MEETING
          linkedin.com/in/             (Pittsburgh, Pennsylvania - May 23-26, 2017)
         khody-r-detwiler
                                       • Workshop: The Examination of Questioned Documents with Complicated
   7550 Woodbury Pike
                                         Specimens Requiring Multiple Examination Types
Roaring Spring, PA 16673
                                               - (Instructed by Nadeem-Ul-Hassan Khan)
        Roaring Spring, PA
           814.793.2377
                                       • Workshop: Covert Communications and Concealment Techniques
                                               - (Instructed by Gregg Mokrzycki)
             Pittsburgh, PA
             412.430.3887
                                       MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS) QUESTIONED
          Philadelphia, PA
                                       DOCUMENTS SECTION FALL WORKSHOP: “QUESTIONED DOCUMENTS EXPERT
           215.800.0120
                                       TESTIMONY WORKSHOP” - VIRGINIA DEPARTMENT OF FORENSIC SCIENCES
                Chicago, IL
             312.236.5186              (Manassas, Virginia - December 5, 2017)
                                       • In addition to myself, this workshop was instructed by the following individuals:
             St. Louis, MO
            636.530.7722                       - (Joseph Stevens, Michael Wallace, Kenneth E. Melson, Ted Burkes,
                                                 Kathleen Storer, & Kelly Pearson)
    www.lesnevich.com
                                       MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
                          SKILLS       ANNUAL MEETING
                                       (Hunt Valley, Maryland - May 15-18, 2018)
       Civil & Criminal Litigation     • Workshop: VSC® & ESDA® Technology: Explaining to the Layperson
      Expert Witness Testimony                - (Instructed by Allyce McWhorter & Rebecca Walls of Foster + Freeman®)
                                       • Workshop: Handwriting Examination of Signatures
     Courtroom Demonstratives
                                              - (Instructed by Ronald N. Morris)
  Civil & Criminal Investigations
                                       • Workshop: Charred and Water Soaked Documents
                                              - (Instructed by Gregg Mokrzycki & Peter J. Belcastro, Jr.)
                      SERVIC E S

                                       MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
                    handwriting and    ANNUAL MEETING
                  signature analysis
                                       (Morgantown, West Virginia - May 7-10, 2019)
                 forensic consulting   • Workshop: Examining Writing on Unusual Surfaces
                                              - (Instructed by Gregg Mokrzycki & Peter J. Belcastro, Jr.)
            electronic signature
         analysis and veri cation      • Workshop: Examination of Torn/Cut Edges
                                              - (Instructed by Lorie Cousin & Peter J. Belcastro, Jr.)
             forensic document         • Workshop: How Chemical Examinations of Inks and Paper Can Corroborate
 examination and authentication
                                         and Supplement Forensic Document Examinations
  non-destructive ink, paper, and             - (Instructed by Gerald M. LaPorte)       Khody R. Detwiler CV (5/24) - Page 14 of 21
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                                   KHODY R. DE T WILER
                                                      Forensic Document Examiner



                         C ONTAC T     C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
                                       ANNUAL MEETING
          linkedin.com/in/             (Pocono Manor, Pennsylvania - September 21-24, 2021)
         khody-r-detwiler
                                       • Workshop: Digitally Captured Signatures; Introduction, Visualization, and Analysis
   7550 Woodbury Pike
                                               - (Instructed by Nikolaos Kalantzis)
Roaring Spring, PA 16673
                                       • Workshop: Technology and Design of Security Documents for Counterfeiting and
        Roaring Spring, PA
           814.793.2377                Alteration Resistance
                                               - (Instructed by Joel A. Zlotnick)
             Pittsburgh, PA
             412.430.3887              • Workshop: PDF Forensics
          Philadelphia, PA
                                               - (Instructed by Leonard Rosenthol of Adobe)
           215.800.0120
                Chicago, IL            MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
             312.236.5186              ANNUAL MEETING
             St. Louis, MO             (Pittsburgh, Pennsylvania - May 6-10, 2024)
            636.530.7722               • Workshop: Exploration in Variation and its Impact on Forensic Handwriting
                                         Examination
    www.lesnevich.com
                                               - (Instructed by Nancy Cox & Jeffrey Payne)
                                       • Workshop: Security Printing Processes Workshop
                            SKILLS
                                               - (Instructed by Nancy Cox, Jeffrey Payne, & Scott Walters)

       Civil & Criminal Litigation     3RD INTERNATIONAL WORKSHOP ON AUTOMATED FORENSIC HANDWRITING
      Expert Witness Testimony         ANALYSIS (AFHA)
     Courtroom Demonstratives          (Honolulu, Hawaii - August 9-10, 2014)
  Civil & Criminal Investigations
                                       • This workshop explored a variety of automated systems which may be used
                                         to assist in the examination of both “online” and “of ine” signatures and writings.
                         SERVIC E S      Some of the speci c topics of discussion included the following:
                                               - Overview of handwriting pattern recognition systems
                    handwriting and                     •Kinematic approaches to signature analysis
                  signature analysis                    • Mathematical approaches to signature complexity and stability
                                               - Endorsed by the following organizations:
                 forensic consulting
                                                        • German Research Centre for Arti cial Intelligence (DFKI)
            electronic signature                        • Netherlands Forensic Institute - Ministry of Security and Justice (NFI)
         analysis and veri cation                       • American Society of Questioned Document Examiners (ASQDE)
             forensic document
 examination and authentication

  non-destructive ink, paper, and
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                                        KHODY R. DE T WILER
                                                      Forensic Document Examiner



                           C ONTAC T        C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                     NIST MEASUREMENT SCIENCE & STANDARDS IN FORENSIC HANDWRITING
                                            ANALYSIS CONFERENCE
          linkedin.com/in/                  (Gaithersburg, Maryland - June 4-5, 2013)
         khody-r-detwiler
                                            • National Institute of Standards and Technology Campus (NIST)
   7550 Woodbury Pike
                                            • In collaboration with the following organizations:
Roaring Spring, PA 16673
                                                     - American Academy of Forensic Sciences - QD Section (AAFS)
        Roaring Spring, PA
                                                     - American Board of Forensic Document Examiners (ABFDE)
           814.793.2377
                                                     - American Society of Questioned Document Examiners (ASQDE)
             Pittsburgh, PA
                                                     - Federal Bureau of Investigation Laboratory (FBI)
             412.430.3887
                                                     - National Institute of Justice (NIJ)
          Philadelphia, PA                           - Scienti c Working Group for Forensic Document Examination (SWGDOC)
           215.800.0120
                Chicago, IL                 Northeastern Association of Forensic Scientists (NEAFS) 40th Annual Meeting
             312.236.5186
                                            (Hershey, Pennsylvania - November 3-6, 2014)
             St. Louis, MO                     • Workshop: Ethics in the Practice of Forensic Science
            636.530.7722
                                                   - (Instructed by Robin Bowen of West Virginia University)
    www.lesnevich.com
                                            NORTHEASTERN ASSOCIATION OF FORENSIC SCIENTISTS (NEAFS) 46TH
                               SKILLS       ANNUAL MEETING
                                            (Virtual - October 14-17, 2020)
       Civil & Criminal Litigation
                                            THE INAUGURAL FORENSIC DOCUMENT EXAMINERS LIVE INTERNATIONAL
      Expert Witness Testimony
                                            KNOWLEDGE EXCHANGE ON DOCUMENTS “FDE LINKED” CONFERENCE
     Courtroom Demonstratives               (Virtual - March 31 through April 1, 2023)
  Civil & Criminal Investigations                   - (Organized by Carolyn Bird, Nikolaos Kalantzis & Samiah Ibrahim)

                           SERVIC E S       FOSTER + FREEMAN® - FORENSIC WEBINAR SERIES
                                            • Questioned Document Examination (QDE) Symposium: Multi-Faceted Examinations
                         handwriting and    • Video Spectral Comparator (VSC): Detecting Counterfeits and Frauds
                       signature analysis
                                            • Document Examination: Authentication and Grading of Stamps, Cards and
                      forensic consulting     Collectibles
                                            • Detect More Evidence: Top Tips to get the most out of your Forensic Light Source
            electronic signature
                                            • Digitally Captured Signatures (DCS) in Everyday (pen + paper) Casework
         analysis and veri cation
                                            • Identity and Drivers Licenses - Addressing the Cost and Impact of Counterfeiting
             forensic document              • From What We Need to What We Have - An Examiner’s View
 examination and authentication

  non-destructive ink, paper, and
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                                   KHODY R. DE T WILER
                                                      Forensic Document Examiner



                      C ONTAC T             C ONTINUING EDUCATI ON (cont.)


    khody@lesnevich.com                     MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS (MAFS)
                                            44TH ANNUAL MEETING
          linkedin.com/in/                  (Mackinac Island, Michigan - September 20-25, 2015)
         khody-r-detwiler
                                            • Workshop: Forensic Examination of Electronic Signatures
   7550 Woodbury Pike
                                                    - (Instructed by William J. Flynn & Kathleen Annunziata Nicolaides)
Roaring Spring, PA 16673
                                            • Workshop: Getting the Most Out of Your Visual Spectral Comparator
        Roaring Spring, PA
           814.793.2377                             - (Instructed by David Tobin & Michael Zontini of Foster + Freeman USA)
                                            • Workshop: The Examination of Documents Requiring a Multi-Faceted Approach
             Pittsburgh, PA
             412.430.3887                           - (Instructed by Brian Lindblom)
          Philadelphia, PA
                                            • Workshop: Evaluating Signatures: What Matters?
           215.800.0120                             - (Instructed by A. Frank Hicks)
                Chicago, IL                 • Workshop: The Application of Questioned Document Examinations to the Analysis
             312.236.5186                     of Valuable Signatures & Other Antiques
             St. Louis, MO                          - (Instructed by Gregg Mokrzycki & Peter J. BelcastroJr.)
            636.530.7722
                                            THE SOUTHWESTERN ASSOCIATION OF FORENSIC DOCUMENT EXAMINERS
    www.lesnevich.com                       (SWAFDE) ANNUAL MEETING
                                            (Denver, Colorado - October 11-13, 2019)
                          SKILLS
                                            • Workshop: A Behind the Scenes (and under the covers) Tour of PDF’s from Adobe’s
                                              PDF Architect
       Civil & Criminal Litigation                 - (Instructed by Leonard Rosenthol of Adobe)
      Expert Witness Testimony              • Workshop: Dispelling the Myths about the Forensic Examination of Hand-printing
     Courtroom Demonstratives                      - (Instructed by Lloyd Cunningham & Linton Mohammed)
  Civil & Criminal Investigations           • Workshop: How Chemical Examinations of Inks and Paper Can Corroborate and
                                              Supplement Forensic Document Examinations
                      SERVIC E S                   - (Instructed by Gerald M. LaPorte)


                    handwriting and         TRAININGS / PRE SE NTATI ONS / SEMINAR S TAUGHT
                  signature analysis

                 forensic consulting        PRESENTATION - A Picture is Worth a Thousand Words: Effective Testimony
                                            Demonstratives
            electronic signature
         analysis and veri cation
                                            (Honolulu, Hawaii - 2014 ASQDE Annual Meeting)

             forensic document              PRESENTATION - Overview of the eld of Forensic Document Examination
 examination and authentication             (Altoona, Pennsylvania - May 30, 2017 - AMBUCS)
  non-destructive ink, paper, and
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                                   KHODY R. DE T WILER
                                                      Forensic Document Examiner



                      C ONTAC T             TRAININGS / PRE SE NTATI ONS / SEMINAR S TAUGHT (cont.)

                                            PRESENTATION - Double-Sided Photocopies: The Next Best Thing
    khody@lesnevich.com                     (San Diego, California - 2017 ASQDE Annual Meeting)
          linkedin.com/in/                  SEMINAR - Workshop: Questioned Documents Expert Testimony Workshop
         khody-r-detwiler
                                            (Manassas, Virginia - December 5, 2017 - MAAFS QD Fall Workshop)
   7550 Woodbury Pike
Roaring Spring, PA 16673                    PRESENTATION - Contested Estates: A Bloody Mess
        Roaring Spring, PA                  (Hunt Valley, Maryland - 2018 MAAFS Annual Meeting)
           814.793.2377
                                            PRESENTATION - Contested Estates: A Bloody Mess
             Pittsburgh, PA
                                            (Baltimore, Maryland - 2019 AAFS Annual Meeting)
             412.430.3887
          Philadelphia, PA                  PRESENTATION - Introduction to Forensic Document Examination
           215.800.0120                     (Virtual - July 16, 2020 - CLE for Kellogg Hansen Todd Figel & Frederick PLLC)
                Chicago, IL
             312.236.5186                   TRAINING - 2020 PENNSYLVANIA OFFICE OF ATTORNEY GENERAL MEDICAID
                                            FRAUD WEBEX TRAINING - INTRODUCTION TO FORENSIC DOCUMENT
             St. Louis, MO
            636.530.7722                    EXAMINATION (August 19, 2020)
                                            • Sponsored by the Pennsylvania Of ce of Attorney General (POAG)
    www.lesnevich.com                       • Provided special agents and prosecutors across the commonwealth with a
                                              comprehensive understanding of the diverse capabilities within the eld of
                           SKILLS             forensic document examination tailored to meet their speci c case requirements
                                              and demands.
        Civil & Criminal Litigation         PRESENTATION - Obtaining Request Handwriting Exemplars in a Socially Distant
       Expert Witness Testimony             World
                                            (Virtual - 2020 ASQDE Annual Meeting & 2020 NEAFS Annual Meeting)
     Courtroom Demonstratives
   Civil & Criminal Investigations          PRESENTATION - Examining the Evidence - Forensic Handwriting Analysis at
                                            The Mary Baker Eddy Library (Boston, Massachusetts)
                      SERVIC E S            (Podcast - October 1, 2021 - Seekers and Scholars - The Mary Baker Eddy Library)

                                            SEMINAR - Workshop: Forensic Document Examination in the Courtroom:
                    handwriting and
                  signature analysis        Expectations of, and for, the FDE
                                            (San Antonio, Texas - August 9, 2022 - ASQDE/SWAFDE Joint Meeting)
                 forensic consulting
                                            PRESENTATION - Forensic Document Examination… All You Need to Know and More
            electronic signature
                                            (Pittsburgh, Pennsylvania - December 13, 2022 - CLE for Babst, Calland, Clements and
         analysis and veri cation
                                            Zomnir, P.C.)
             forensic document
 examination and authentication

  non-destructive ink, paper, and
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                                        KHODY R. DE T WILER
                                                       Forensic Document Examiner



                             C ONTAC T      TRAININGS / PRE SE NTATI ONS / SEMINAR S TAUGHT (cont.)

                                            TRAINING - Unveiling the Art and Science of Forensic Document Examination: An
         khody@lesnevich.com                Introduction (Prosecutor Perspective)
                                            (Lancaster, Pennsylvania - March 5, 2024 - 2024 Pennsylvania Of ce of Attorney
               linkedin.com/in/
              khody-r-detwiler              General (POAG) - Attorney Conference)
        7550 Woodbury Pike                  TRAINING - Unveiling the Art and Science of Forensic Document Examination: An
     Roaring Spring, PA 16673
                                            Introduction (Agent Perspective)
             Roaring Spring, PA             (Pocono Manor, Pennsylvania - March 20, 2024 - 2024 Pennsylvania Of ce of
                814.793.2377
                                            Attorney General (POAG) - All Agents Conference)
                  Pittsburgh, PA
                  412.430.3887              PRESENTATION - ESDA® Sequencing for Forensic Document Examination: A Case
               Philadelphia, PA             Study
                215.800.0120                (Pittsburgh, Pennsylvania - May 9, 2024 - 2024 MAAFS Annual Meeting)
                     Chicago, IL
                  312.236.5186              PUBLICATI ON
                  St. Louis, MO
                 636.530.7722               I am a contributing author to the published textbook, Forensic Document Examination in
                                            the 21st Century, edited by Jan Seaman Kelly and Miriam Angel, and published by CRC
         www.lesnevich.com                  Press Taylor and Francis Group [2021] (ISBN: 978-0-367-25155-0). My speci c
                                            contribution was chapter 14, entitled “Forensic Analysis of Handwritten Electronic
                                SKILLS      Signatures.” The of cial book description is as follows:
                                                “Forensic Document Examination in the 21st Century covers the latest technology
             Civil & Criminal Litigation        and techniques providing a complete resource on contemporary issues and methods
                                                in forensic document examination. Forensic document examiners provide their
            Expert Witness Testimony              ndings as expert testimony in court. Due to rapid changes in technology, including
          Courtroom Demonstratives              digital documents, printing and photocopying capabilities, and more, there is a great
                                                need for this up-to-date reference.
        Civil & Criminal Investigations
                                                The examination of documents can include comparison of handwriting or hand-
                             SERVIC E S         printing; detection of alterations or photocopier and computer manipulation;
                                                restoration or decipherment of erased and obliterated writing; visualization of
                                                latent impressions; the identi cation of printing processes; and differentiation of
                         handwriting and        inks. Computer-generated documents are prevalent, and electronically-captured
                       signature analysis       signatures are becoming more widespread, meaning the knowledge of advances in
                                                technology and adoption of new validated techniques and methods of document
                      forensic consulting       examination are crucial to the reliability of forensic opinions.

                 electronic signature           Forensic Document Examination in the 21st Century includes the latest research
              analysis and veri cation          on the subject and with contributions from leading experts on their various areas of
                                                expertise. The book will be a welcome addition to the literature and support the
                  forensic document             foundational basis for methods and procedures for use it expert testimony in court,
      examination and authentication            serving as a resource for forensic document examiners, trainees, and those in the
                                                criminal and legal communities who use the services of expert document examiners
       non-destructive ink, paper, and          and witnesses.”                               Khody R. Detwiler CV (5/24) - Page 19 of 21
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                                            KHODY R. DE T WILER
                                                          Forensic Document Examiner



                               C ONTAC T        PROFE SSI ONA L AFFILIATI ONS

                                                AMERICAN ACADEMY OF FORENSIC SCIENCES (AAFS)
         khody@lesnevich.com                    Regular Member | **Questioned Documents Section**
               linkedin.com/in/                 AAFS - ACADEMY STANDARDS BOARD (ASB)
              khody-r-detwiler                  Forensic Document Examination Consensus Body
        7550 Woodbury Pike                      • Served as Vice Chair from 2015-2020
     Roaring Spring, PA 16673
                                                • Served on the working group for the ANSI/ASB Standard 44: Standard for
             Roaring Spring, PA                   Examination of Documents for Indentations
                814.793.2377
                                                • Presently ful lling the role of the chair of the working group for the ANSI/ASB
                      Pittsburgh, PA              Standard 155: Standard for Minimum Training Requirements for Forensic Document
                      412.430.3887                Examiners
               Philadelphia, PA
                                                AMERICAN SOCIETY OF QUESTIONED DOCUMENT EXAMINERS (ASQDE)
                215.800.0120
                                                Regular Member | **Currently Serving as Director of the Executive Committee**
                         Chicago, IL
                                                • In addition to meeting the standard ASQDE membership criteria, achieving ‘Regular’
                      312.236.5186
                                                  Membership status requires an examiner to undergo a rigorous testing process. This
                      St. Louis, MO               evaluation procedure involves successfully passing a series of written and practical
                     636.530.7722                 examinations. Following this, the examiner must also successfully complete an oral
                                                  board assessment conducted by a three-member panel chosen from the Evaluation
         www.lesnevich.com
                                                  and Examination Committee of the ASQDE.
                                                • In addition to my role as Director of the Executive Committee, I am also currently a
                                   SKILLS         member of both the ASQDE Evaluation and Examination Committee and the ASQDE
                                                  Resource Center Committee.
            Civil & Criminal Litigation
                                                MID-ATLANTIC ASSOCIATION OF FORENSIC SCIENTISTS (MAAFS)
           Expert Witness Testimony             Regular Member | **Physical Evidence Section [Questioned Documents]**
          Courtroom Demonstratives              • Served as Questioned Document Section Chair from 2020-2021
       Civil & Criminal Investigations          MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS, INC. (MAFS)
                                                Regular Member | **Questioned Documents Section**
                               SERVIC E S
                                                NORTHEASTERN ASSOCIATION OF FORENSIC SCIENTISTS (NEAFS)
                                                Associate Member
                             handwriting and
                           signature analysis   INTERNATIONAL ASSOCIATION FOR IDENTIFICATION (IAI)
                                                Regular Member
                          forensic consulting
                                                THE CHARTERED SOCIETY OF FORENSIC SCIENCES (CSFS) - United Kingdom
                 electronic signature           Af liate Member
              analysis and veri cation
                                                THE CANADIAN SOCIETY OF FORENSIC SCIENCES (CSFS) - Ottawa, Canada
                  forensic document
                                                Regular Member
      examination and authentication

       non-destructive ink, paper, and
                                                ASTM INTERNATIONAL - COMMITTEE E30 - FORENSIC SCIENCE (ASTM)
     electrostatic indentation analysis         Voting Member                      Khody R. Detwiler CV (5/24) - Page 20 of 21
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          Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 51 of 68 PageID #: 2771
                                         The Curriculum Vitae of



                                       KHODY R. DE T WILER
                                                  Forensic Document Examiner



                      C ONTAC T         TE STIMONY EXPERIE NC E

                                        I've earned recognition as an expert in the eld of Forensic Document Examination
    khody@lesnevich.com                 and have provided expert testimony on numerous occasions in both state and federal
                                        courts across the United States, as well as in various international jurisdictions. A
          linkedin.com/in/
         khody-r-detwiler               comprehensive testimony list is available upon request.
   7550 Woodbury Pike
Roaring Spring, PA 16673                INTERNATI ONA L EXPERIE NC E
        Roaring Spring, PA
                                        Since beginning my career in the eld of Forensic Document Examination, I have
           814.793.2377
                                        conducted a wide variety of forensic examinations on countless individual
             Pittsburgh, PA
                                        documents and signatures involved in various litigations throughout the United
             412.430.3887
                                        States and abroad. My international casework has required extensive travel
          Philadelphia, PA              throughout Asia, North America, Central America, South America, Europe, and the
           215.800.0120
                                        Middle East. Furthermore, I have been retained on numerous international matters
                Chicago, IL             that have not required international travel.
             312.236.5186
             St. Louis, MO
            636.530.7722

    www.lesnevich.com

                           SKILLS


        Civil & Criminal Litigation
       Expert Witness Testimony
     Courtroom Demonstratives
   Civil & Criminal Investigations

                      SERVIC E S


                    handwriting and
                  signature analysis

                 forensic consulting

            electronic signature
         analysis and veri cation

             forensic document
 examination and authentication

  non-destructive ink, paper, and
                                                                                      Khody R. Detwiler CV (5/24) - Page 21 of 21
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                                           T h e Te s t i m o n y L i s t o f



                                       KHODY R. DE T WILER
                                                  Forensic Document Examiner



                      C ONTAC T         TE STIMONY LI ST FROM 2012 TO PRE SE NT


    khody@lesnevich.com                 (1)    JANUARY 20, 2012

          linkedin.com/in/
         khody-r-detwiler               People vs. Cory Byrd
                                        (Ind. #2011-749)
   7550 Woodbury Pike
Roaring Spring, PA 16673                County Court (County of Orange) - Goshen, New York
        Roaring Spring, PA              Retained by the Orange County District Attorney’s Of ce
           814.793.2377                 Jury Trial - Honorable Jeffery G. Berry
             Pittsburgh, PA             Our File No. 2011-056
             412.430.3887
          Philadelphia, PA              (2)    APRIL 9, 2013
           215.800.0120
                Chicago, IL             MERS vs. Ruth A. Carvalho, et al
             312.236.5186               Court of Common Pleas - Philadelphia, Pennsylvania
             St. Louis, MO              Retained by Philadelphia VIP (Pro Bono)
            636.530.7722                Bench Trial - Honorable Eugene Edward J. Maier
    www.lesnevich.com                   Our File No. 2012-020


                          SKILLS        (3)    MAY 15, 2013

                                        In Re: Declaration of Trust Dated October 19, 1977of Chester C. Lockwood
       Civil & Criminal Litigation
                                        and Helene J. Lockwood, Settlors. (No. 1509-1375)
      Expert Witness Testimony
                                        In Re: Irrevocable Deed of Trust of Edna P. Lockwood, Settlor,
     Courtroom Demonstratives           Dated December 15, 1983. (No. 1509-1376)
  Civil & Criminal Investigations       Court of Common Pleas of Chester County - West Chester Pennsylvania
                                        Retained by Astor Weiss Kaplan & Mandel, LLP
                      SERVIC E S        Bench Trial - Honorable Katherine B. L. Platt
                                        Our File No. 2012-070
                    handwriting and
                  signature analysis    (4)    JANUARY 9, 2014
                 forensic consulting
                                        Commonwealth of Pennsylvania vs. Michelle M. Cohen
            electronic signature
                                        Court of Common Pleas of Chester County - West Chester Pennsylvania
         analysis and veri cation
                                        Retained by the Pennsylvania Of ce of Attorney General (POAG)
             forensic document          Jury Trial - Honorable Jacqueline Carroll Cody
 examination and authentication         Our File No. 2012-008

  non-destructive ink, paper, and                                                  Khody R. Detwiler Testimony List - Page 1 of 17
electrostatic indentation analysis
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          Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 53 of 68 PageID #: 2773
                                           T h e Te s t i m o n y L i s t o f



                                   KHODY R. DE T WILER
                                                  Forensic Document Examiner



                      C ONTAC T        TE STIMONY LI ST continued


    khody@lesnevich.com                (5)    APRIL 11, 2014

          linkedin.com/in/
         khody-r-detwiler              People vs. David Stevenson
                                       (Ind. #2013-067)
   7550 Woodbury Pike
Roaring Spring, PA 16673               County Court (County of Orange) - Goshen, New York
        Roaring Spring, PA             Retained by the Orange County District Attorney’s Of ce
           814.793.2377                Jury Trial - Honorable Jeffery G. Berry
             Pittsburgh, PA            Our File No. 2014-005
             412.430.3887
          Philadelphia, PA             (6)    APRIL 25, 2014
           215.800.0120
                Chicago, IL            Estate of Mary Jennelle Travis a/k/a Mary Jennelle Butler Travis, Deceased
             312.236.5186              Court of Common Pleas of Lancaster County, Pennsylvania
             St. Louis, MO             (No. 36-2012-2130)
            636.530.7722               -Orphans Court Division
    www.lesnevich.com                  Retained by Nikolaus & Hohenadel, LLP
                                       Bench Trial - Honorable Jay J. Hoberg
                          SKILLS       Our File No. 2013-033

                                       (7)    JUNE 30, 2014
       Civil & Criminal Litigation
      Expert Witness Testimony
                                       Langenkamp vs. New York University
     Courtroom Demonstratives          New York Southern District Court (No. 1:2010cv08883)
  Civil & Criminal Investigations      Retained by New York University
                                       Presiding Judge: Honorable Alvin K. Hellerstein
                      SERVIC E S       **Deposition**
                                       Our File No. 2012-049
                    handwriting and
                  signature analysis   (8)    AUGUST 28, 2014
                 forensic consulting
                                       Commonwealth of Pennsylvania vs. Frank Charles Scott
            electronic signature
                                       (CP-17-CR-0000717-2013)
         analysis and veri cation
                                       Court of Common Pleas, County of Clear eld, Pennsylvania
             forensic document         Retained by Sobel & Collins
 examination and authentication        Jury Trial - Honorable Paul E. Cherry
                                       Our File No. 2014-022
  non-destructive ink, paper, and                                                  Khody R. Detwiler Testimony List - Page 2 of 17
electrostatic indentation analysis
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          Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 54 of 68 PageID #: 2774
                                           T h e Te s t i m o n y L i s t o f



                                        KHODY R. DE T WILER
                                                      Forensic Document Examiner



                      C ONTAC T          TE STIMONY LI ST continued


    khody@lesnevich.com                  (9)    MAY 4, 2015

          linkedin.com/in/
         khody-r-detwiler                In Re: Walter J. Konjolka, Deceased
                                         (No.: 936 of 2014)
   7550 Woodbury Pike
Roaring Spring, PA 16673                 Court of Common Pleas of Allegheny County, Pennsylvania
        Roaring Spring, PA               -Orphans’ Court Division
           814.793.2377                  Retained by Sikov & Love, P.A.
             Pittsburgh, PA              Bench Trial - Honorable Lawrence J. O'Toole
             412.430.3887                Our File No. 2014-107
          Philadelphia, PA
           215.800.0120                  (10)   MAY 22, 2015
                Chicago, IL
             312.236.5186                Statewide Investigating Grand Jury
             St. Louis, MO               (POAG Western Regional Of ce located in Pittsburgh, Pennsylvania)
            636.530.7722                 Retained by the Pennsylvania Of ce of Attorney General (PAOG)
    www.lesnevich.com                    Honorable Norman A. Krumenacker, III
                                         **Grand Jury Testimony**
                          SKILLS         Our File No. 2015-005

                                         (11)   JUNE 25, 2015 - (INTERNATIONAL)
       Civil & Criminal Litigation
      Expert Witness Testimony
                                         2014-1479 Ashot Yegiazaryan vs. Vitaly Ivanovich Smagin
     Courtroom Demonstratives            High Court of Justice (Queen's Bench Division)
  Civil & Criminal Investigations        -Commercial & Admirability Court (London, England)
                                         Retained by Gibson Dunn & Crutcher LLP (UK Of ce)
                      SERVIC E S         Bench Trial - The Honorable Justice Nigel Teare
                                         Our File No. 2015-013
                    handwriting and
                  signature analysis     (12)   SEPTEMBER 1, 2015
                 forensic consulting
                                         M&M Insurance Group, INC., vs. Ronald Ferraro
            electronic signature
                                         Court of Common Pleas of Lawrence County, Pennsylvania
         analysis and veri cation
                                         Retained by Verterano & Manolis
             forensic document           Bench Trial - Honorable Eugene Fike II
 examination and authentication          Our File No. 2015-030

  non-destructive ink, paper, and                                                  Khody R. Detwiler Testimony List - Page 3 of 17
electrostatic indentation analysis
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                                                T h e Te s t i m o n y L i s t o f



                                        KHODY R. DE T WILER
                                                        Forensic Document Examiner



                           C ONTAC T        TE STIMONY LI ST continued


         khody@lesnevich.com                (13)    JANUARY 28, 2016

               linkedin.com/in/
              khody-r-detwiler              United States of America vs. Raza, et al.
                                            United States District Court
        7550 Woodbury Pike
     Roaring Spring, PA 16673               -Eastern District of Virginia (Alexandria, Virginia)
             Roaring Spring, PA             Retained by Winston & Strawn LLP
                814.793.2377                Jury Trial - Honorable Claude M. Hilton
                  Pittsburgh, PA            Our File No. 2015-075
                  412.430.3887
               Philadelphia, PA             (14)    MARCH 17, 2016
                215.800.0120
                     Chicago, IL            In re: Nomination Petition of Erin R. McClelland for the
                  312.236.5186              Of ce of Representative in Congress (Petition Hearing)
                  St. Louis, MO             Commonwealth Court of Pennsylvania (Pittsburgh, Pennsylvania)
                 636.530.7722               Retained by the Law Of ces of Charles A. Pascal, Jr.
         www.lesnevich.com                  Petition Hearing - Honorable Patricia A. Mccullough
                                            Our File No. 2016-015
                                  SKILLS
                                            (15)    APRIL 28, 2016
            Civil & Criminal Litigation
                                            Dantzler vs. Young
           Expert Witness Testimony
                                            (Case No.: 150202116)
          Courtroom Demonstratives          Court of Common Pleas (City Hall) - Philadelphia, Pennsylvania
       Civil & Criminal Investigations      Retained Philadelphia Legal Assistance (Pro Bono)
                                            Bench Trial - Honorable Shelley Robins-New
                           SERVIC E S       Our File No. 2015-084

                         handwriting and    (16)    JUNE 7, 2016
                       signature analysis

                      forensic consulting   Estate of Robert P. Bieber, Deceased, Dennis R. Newhard and
                                            Sandra Newhard, Executors vs. Leslie M. DiMenichi
                 electronic signature
                                            (Case No. C48-CV-2013-3399)
              analysis and veri cation
                                            Court of Common Pleas - Northampton County, Pennsylvania
                  forensic document         Retained by Fitzpatrick Lentz & Bubba, P.C.
      examination and authentication        Bench Trial - Honorable Emiddio Giordano
                                            Our File No. 2015-045
       non-destructive ink, paper, and                                                      Khody R. Detwiler Testimony List - Page 4 of 17
     electrostatic indentation analysis
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          Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 56 of 68 PageID #: 2776
                                           T h e Te s t i m o n y L i s t o f



                                   KHODY R. DE T WILER
                                                  Forensic Document Examiner



                      C ONTAC T        TE STIMONY LI ST continued


    khody@lesnevich.com                (17)    AUGUST 25, 2016

          linkedin.com/in/
         khody-r-detwiler              In Re: Estate of John Edward Brumbaugh, Deceased
                                       (Docket No.: 26-2016)
   7550 Woodbury Pike
Roaring Spring, PA 16673               Court of Common Pleas - Bedford County, Pennsylvania
        Roaring Spring, PA             Retained by Haberstroh Sullivan Keating & George, LLP
           814.793.2377                Bench Trial - Honorable Travis W. Livengood
             Pittsburgh, PA            Our File No. 2016-026
             412.430.3887
          Philadelphia, PA             (18)    OCTOBER 7, 2016
           215.800.0120
                Chicago, IL            In Re: Estate of John Edward Brumbaugh, Deceased
             312.236.5186              (Docket No.: 26-2016)
             St. Louis, MO             Court of Common Pleas - Bedford County, Pennsylvania
            636.530.7722               Retained by Haberstroh Sullivan Keating & George, LLP
    www.lesnevich.com                  Hearing - Honorable Travis W. Livengood
                                       Our File No. 2016-026
                          SKILLS
                                       (19)    OCTOBER 21, 2016
       Civil & Criminal Litigation
                                       John C. Maley, et al. vs. Shell Western Exploration and Production, LP, et al.
      Expert Witness Testimony
                                       (Docket No.: 352-CV-2012)
     Courtroom Demonstratives          Court of Common Pleas - Tioga County, Pennsylvania
  Civil & Criminal Investigations      Retained by Norton Rose Fulbright US LLP
                                       Jury Trial - Honorable George W. Wheeler
                      SERVIC E S       Our File No. 2015-040

                    handwriting and    (20)    MARCH 17 & 20, 2017
                  signature analysis

                 forensic consulting   High Value Trading, LLC and Alskom Realty, LLC vs.
                                       Jack Shaoul and Universe Antiques, Inc.
            electronic signature
                                       New York State Supreme Court - New York County, New York
         analysis and veri cation
                                       Retained by Budd Larner, P.C.
             forensic document         Jury Trial - Honorable Margaret A. Chan
 examination and authentication        Our File No. 2013-032

  non-destructive ink, paper, and                                                     Khody R. Detwiler Testimony List - Page 5 of 17
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                                           T h e Te s t i m o n y L i s t o f



                                   KHODY R. DE T WILER
                                                 Forensic Document Examiner



                      C ONTAC T        TE STIMONY LI ST continued


    khody@lesnevich.com                (21)   MAY 22, 2017

          linkedin.com/in/
         khody-r-detwiler              In the Matter of the Will of E. Warren Bradway, Deceased
                                       Superior Court of New Jersey, Chancery Division-Probate Part
   7550 Woodbury Pike
Roaring Spring, PA 16673               Camden County, Docket No. CP 0116-2016
        Roaring Spring, PA             Retained by Cozen O’Connor
           814.793.2377                Bench Trial - Honorable Nan S. Famular
             Pittsburgh, PA            Our File No. 2016-070
             412.430.3887
          Philadelphia, PA             (22)   JULY 18, 2017
           215.800.0120
                Chicago, IL            Quazzo vs. ADA Chester Corporation et al
             312.236.5186              (#37-1-12 Wrcv/Civil/Jury Trial)
             St. Louis, MO             Vermont Superior Court - Woodstock, Vermont
            636.530.7722               Retained by Langrock Sperry & Wool, LLP
    www.lesnevich.com                  Jury Trial - Honorable Robert P. Gerety Jr.
                                       Our File No. 2012-004
                          SKILLS
                                       (23)   NOVEMBER 21, 2017
       Civil & Criminal Litigation
                                       Patel vs. Parmar (Monto Co. Case No. 2016-13282)
      Expert Witness Testimony
                                       Court of Common Pleas - Montgomery County, Pennsylvania
     Courtroom Demonstratives          Retained by Sidkoff, Pincus & Green, P.C.
  Civil & Criminal Investigations      Bench Trial - Honorable Richard P. Haaz
                                       Our File No. 2017-028
                      SERVIC E S
                                       (24)   JULY 5, 2018
                    handwriting and
                  signature analysis   Commonwealth of Pennsylvania vs. Mitchell
                 forensic consulting   Court of Common Pleas - Tioga County, Pennsylvania
                                       Retained by Attorneys Will Korey and Samuel C. Stretton
            electronic signature
                                       Hearing - Honorable George W. Wheeler
         analysis and veri cation
                                       -Motion to set aside verdict; New Trial
             forensic document         -Motion to Modify Sentence
 examination and authentication        Our File No. 2018-033

  non-destructive ink, paper, and                                                 Khody R. Detwiler Testimony List - Page 6 of 17
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                                           T h e Te s t i m o n y L i s t o f



                                   KHODY R. DE T WILER
                                                  Forensic Document Examiner



                      C ONTAC T        TE STIMONY LI ST continued


    khody@lesnevich.com                (25)   JULY 30, 2018

          linkedin.com/in/
         khody-r-detwiler              Rodney L. Dively Estate vs Bobbi Delozier
                                       (Case No. 2017-00660)
   7550 Woodbury Pike
Roaring Spring, PA 16673               Court of Common Pleas - Bedford County, Pennsylvania
        Roaring Spring, PA             Retained by Forr, Stokan, Huff, Kormanski and Naugle
           814.793.2377                Hearing - Honorable Travis W. Livengood
             Pittsburgh, PA            Our File No. 2018-079
             412.430.3887
          Philadelphia, PA             (26)   OCTOBER 8, 2018
           215.800.0120
                Chicago, IL            Commonwealth of Pennsylvania vs. Robinson
             312.236.5186              Court of Common Pleas - Dauphin County, Pennsylvania
             St. Louis, MO             Retained by Attorney Roy L. Galloway
            636.530.7722               PCRA Hearing - Honorable Scott Arthur Evans
    www.lesnevich.com                  Our File No. 2018-071


                          SKILLS       (27)   DECEMBER 10, 2018

                                       IN RE: Estate of Naomi R. Cherup, Deceased
       Civil & Criminal Litigation
                                       (Docket No. 02-15-04102)
      Expert Witness Testimony
                                       Court of Common Pleas of Allegheny County, Pennsylvania
     Courtroom Demonstratives          -Orphans’ Court Division
  Civil & Criminal Investigations      Retained by Jones Gregg Creehan & Gerace, LLP
                                       Hearing - Timothy E. Finnerty, Hearing Of cer
                      SERVIC E S       Our File No. 2016-051

                    handwriting and    (28)   DECEMBER 19, 2018
                  signature analysis

                 forensic consulting   IN RE: Estate of Sean M. Schellenger
                                       Philadelphia County, Register of Wills
            electronic signature
                                       (Docket No. 4157-2018)
         analysis and veri cation
                                       Retained by Crocker & Crocker, P.C.
             forensic document         Hearing - John F. Raimondi, Deputy Register of Wills
 examination and authentication        Our File No. 2018-096

  non-destructive ink, paper, and                                                   Khody R. Detwiler Testimony List - Page 7 of 17
electrostatic indentation analysis
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                                           T h e Te s t i m o n y L i s t o f



                                   KHODY R. DE T WILER
                                                      Forensic Document Examiner



                      C ONTAC T        TE STIMONY LI ST continued


    khody@lesnevich.com                (29)   JANUARY 30, 2019

          linkedin.com/in/
         khody-r-detwiler              Commonwealth of Pennsylvania vs. Kashif Ellis
                                       Court of Common Pleas - Blair County, Pennsylvania
   7550 Woodbury Pike
Roaring Spring, PA 16673               Retained by the Blair County District Attorney’s Of ce
        Roaring Spring, PA             Jury Trial - Honorable Elizabeth A. Doyle
           814.793.2377                Our File No. 2018-073
             Pittsburgh, PA
             412.430.3887              (30)   MAY 28, 2019
          Philadelphia, PA
           215.800.0120                IN RE: Estate of Edward R. Zimmerman, Deceased
                Chicago, IL            (Docket No. O.C. 82 of 2018)
             312.236.5186              Court of Common Pleas of Warren County, Pennsylvania
             St. Louis, MO             -Orphans Court Division
            636.530.7722               Retained by Stapleford & Byham, LLC
    www.lesnevich.com                  Bench Trial - Honorable Gregory J. Hammond
                                       Our File No. 2018-136
                          SKILLS
                                       (31)   JUNE 10, 2019
       Civil & Criminal Litigation
                                       Jonathan P. Ruff, et al. v. Danial Kiser
      Expert Witness Testimony
                                       (C-12-CV-18-000918)
     Courtroom Demonstratives          Circuit Court for Hartford County, Maryland
  Civil & Criminal Investigations      Retained by Neuberger, Quinn, Gielen, Rubin & Gibber P.A.
                                       **Deposition**
                      SERVIC E S       Our File No. 2019-026

                    handwriting and    (32)   JUNE 24, 2019
                  signature analysis

                 forensic consulting   BSPLLC Substitute Trustee v. Rene Mitchell
                                       (CAEF15-20853)
            electronic signature
                                       Circuit Court for Prince George’s County, Maryland
         analysis and veri cation
                                       Retained by Duane Morris LLP
             forensic document         Bench Trial - Honorable Crystal D. Mittelstaedt
 examination and authentication        Our File No. 2018-083

  non-destructive ink, paper, and                                                  Khody R. Detwiler Testimony List - Page 8 of 17
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               Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 60 of 68 PageID #: 2780
                                                T h e Te s t i m o n y L i s t o f



                                             KHODY R. DE T WILER
                                                               Forensic Document Examiner



                                C ONTAC T        TE STIMONY LI ST continued


         khody@lesnevich.com                     (33)        AUGUST 8, 2019

               linkedin.com/in/
              khody-r-detwiler                   Of ce of Disciplinary Counsel The Disciplinary Board of the Supreme
                                                 Court of Pennsylvania vs. Anthony S. Rachuba, IV, Esquire
        7550 Woodbury Pike
     Roaring Spring, PA 16673                    Of ce of Disciplinary Counsel, District II Of ce - Trooper, Pennsylvania
             Roaring Spring, PA                  Retained by the Disciplinary Board of the Supreme Court of
                814.793.2377                     Pennsylvania Of ce of Disciplinary Counsel
                  Pittsburgh, PA                 Disciplinary Hearing - Three Panel Hearing Committee
                  412.430.3887                   Our File No. 2019-019
               Philadelphia, PA
                215.800.0120                     (34)        OCTOBER 8, 2019
                     Chicago, IL
                  312.236.5186                   Jacquelyn Soffer v. Jeffrey Soffer - JAMS Arbitration (Ref. No.: 1425028944)
                  St. Louis, MO                  Retained by Kellogg Hansen Todd Figel & Frederick PLLC
                 636.530.7722                    Before the Honorable Garrett E. Brown, Jr., David H. Coar, and Thomas I. Vanaskie
         www.lesnevich.com                       New York, New York
                                                 **Testimony Submitted in Written Form**
                                    SKILLS       Our File No. 2019-078

                                                 (35)        OCTOBER 28, 2019
            Civil & Criminal Litigation
           Expert Witness Testimony
                                                 Of ce of Disciplinary Counsel The Disciplinary Board of the Supreme
          Courtroom Demonstratives               Court of Pennsylvania vs. Ephraim Tahir R. Mella, Esquire
       Civil & Criminal Investigations           Of ce of Disciplinary Counsel, District I Of ce - Philadelphia, Pennsylvania
                                                 Retained by Lamb McErlane, PC
                                SERVIC E S       Disciplinary Hearing before Special Master, Carl D. Buchholz, III, Esquire
                                                 Our File No. 2019-090
                              handwriting and
                            signature analysis   (36)        MARCH 16, 2020
                           forensic consulting
                                                 Joseph Dugan and Water Transfer Solutions, LLC vs. Donald M. Gallo
                 electronic signature
                                                 Court of Common Pleas of Allegheny County, Pennsylvania
              analysis and veri cation
                                                 -Civil Division
                  forensic document              Retained by Colkitt Law Firm, P.C.
      examination and authentication             Bench Trial - Honorable Christine A. Ward
                                                 Our File No. 2019-112
       non-destructive ink, paper, and                                                         Khody R. Detwiler Testimony List - Page 9 of 17
     electrostatic indentation analysis
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          Case 1:23-cr-00061-MN Document 166-1 Filed 05/22/24 Page 61 of 68 PageID #: 2781
                                           T h e Te s t i m o n y L i s t o f



                                   KHODY R. DE T WILER
                                                   Forensic Document Examiner



                      C ONTAC T        TE STIMONY LI ST continued


    khody@lesnevich.com                (37)    AUGUST 28, 2020

          linkedin.com/in/             Jai Shekhawat v. Anil Kumar, Udai Kumar, Jeffrey Sratton, John Aiello
         khody-r-detwiler
                                       and Quinnox, Inc., a Delaware corporation (C.A. No. 2019-0079-AGB)
   7550 Woodbury Pike                  Delaware Court of Chancery - Honorable Andre G. Bouchard
Roaring Spring, PA 16673
                                       Retained by Abrams & Bayliss LLP
        Roaring Spring, PA             **Deposition**
           814.793.2377
                                       Our File No. 2020-033
             Pittsburgh, PA
             412.430.3887
                                       (38)    OCTOBER 12, 2020
          Philadelphia, PA
           215.800.0120
                                       Susan Elaine Montler vs. Robert Wilfred Montler
                Chicago, IL
             312.236.5186              (Case No.: 2017-GN-1183)
             St. Louis, MO
                                       Court of Common Pleas - Blair County, Pennsylvania
            636.530.7722               Retained by Gentile, Horoho & Avalli, P.C.
                                       Bench Trial - Honorable Hiram A. Carpenter, III
    www.lesnevich.com
                                       Our File No. 2019-074

                             SKILLS
                                       (39)    DECEMBER 14 & 15, 2020

       Civil & Criminal Litigation     Beverley B. Schottenstein, et al. v. J.P. Morgan Securities, LLC; Evan A. Schottenstein
      Expert Witness Testimony         and Avi E. Schottenstein, et al. (FINRA Arb. No. 19-02053 - Boca Raton, Florida)
     Courtroom Demonstratives          FINRA Arbitration - Arbitration Panel: Donna Greenspan Solomon (Chairperson),
  Civil & Criminal Investigations      David Rich, and James M. Scutti
                                       Retained by Maynard, Cooper & Gale, PC
                      SERVIC E S       Our File No. 2020-054

                                       (40)    FEBRUARY 12, 2021
                    handwriting and
                  signature analysis
                                       RR Trans Systems, Inc., an Illinois corporation, ROS & ROZ Logistics, Inc., an Illinois
                 forensic consulting
                                       corporation, and Vladislav Tsvetkov, Derivatively as a shareholders of RR Trans Systems,
            electronic signature       Inc., and ROS & ROZ Logistics, Inc., and Individually vs. Rosen Zdravkov, an individual,
         analysis and veri cation      and Viktoryia Kurkezh, an individual (Case No. 17-CH-14267)
                                       Circuit Court of Cook County, Illinois - Chancery Division - Honorable Neil Cohen
             forensic document
 examination and authentication        Retained by the Law Of ce of David L. LaPorte, P.C.
                                       **Deposition**
  non-destructive ink, paper, and      Our File No. 2020-099                         Khody R. Detwiler Testimony List - Page 10 of 17
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                                   KHODY R. DE T WILER
                                                        Forensic Document Examiner



                      C ONTAC T             TE STIMONY LI ST continued


    khody@lesnevich.com                     (41)    FEBRUARY 17, 2021

          linkedin.com/in/                  In Re: Estate of John P. Zitcovich a/k/a John P. Zitcovich, Sr., Deceased
         khody-r-detwiler
                                            (Docket No. 02-19-01099)
   7550 Woodbury Pike                       Court of Common Pleas of Allegheny County, Pennsylvania
Roaring Spring, PA 16673
                                            -Orphans’ Court Division
        Roaring Spring, PA
                                            Retained by Jones Gregg Creehan & Gerace, LLP
           814.793.2377
                                            Bench Trial - Honorable Lawrence J. O'Toole
             Pittsburgh, PA
             412.430.3887                   Our File No. 2020-090

          Philadelphia, PA
           215.800.0120                     (42)    MARCH 1, 2021
                Chicago, IL
             312.236.5186                   In Re: Estate of Bernard R. Unterkoe er (Docket No. 2019-43-OC)
             St. Louis, MO                  Court of Common Pleas of Susquehanna County, Pennsylvania
            636.530.7722                    -Orphans’ Court Division
                                            Retained by Beardsley Law, PLLC
    www.lesnevich.com
                                            Bench Trial - Honorable Jason J. Legg
                                            Our File No. 2020-075
                          SKILLS

                                            (43)    MARCH 19, 2021
       Civil & Criminal Litigation
      Expert Witness Testimony              Kirk Saleme, Richard Latker v. Sean M. Burke
     Courtroom Demonstratives               Court of Common Pleas of Blair County, Pennsylvania 24th Judicial District
  Civil & Criminal Investigations           (No. 2021 GN 659)
                                            Retained by Grabill & Seelye, P.L.L.C.
                      SERVIC E S            Bench Trial - Honorable Paul E. Cherry (County of Clear eld, Pennsylvania)
                                            Our File No. 2021-024
                    handwriting and
                  signature analysis        (44)    JULY 26, 2021

                 forensic consulting
                                            Marjam Supply CO., INC., vs. American Contractors of New Jersey, LLC, Joseph
            electronic signature            Pallonetti, Port IMP. South II Urban Renewal, LLC, XYZ Corporation 1-10 and/or John
         analysis and veri cation           Does 1-10 (Mortgage and Lien Holders)
                                            Superior Court of New Jersey Law Division: Hudson County (No.: HUD-L-1359-19)
             forensic document
 examination and authentication             Retained by Pribish-Reiss LLP
                                            Bench Trial - Honorable Christine M. Vanek
  non-destructive ink, paper, and           Our File No. 2020-083                       Khody R. Detwiler Testimony List - Page 11 of 17
electrostatic indentation analysis
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                                       KHODY R. DE T WILER
                                                    Forensic Document Examiner



                      C ONTAC T         TE STIMONY LI ST continued

                                        (45)    AUGUST 16, 2021
    khody@lesnevich.com

          linkedin.com/in/              Commonwealth of Pennsylvania v. Myrle Evelyn Miller
         khody-r-detwiler               (MJ-17302-CR-0000106-2021)
   7550 Woodbury Pike                   Court of Common Pleas of Union County, Pennsylvania
Roaring Spring, PA 16673                Retained by the Pennsylvania Of ce of Attorney General (POAG)
        Roaring Spring, PA              Preliminary Hearing - Honorable Jeffrey L. Mensch
           814.793.2377
                                        Our File No. 2021-022
             Pittsburgh, PA
             412.430.3887
                                        (46)    AUGUST 24, 2021
          Philadelphia, PA
           215.800.0120
                                        Bolger v. Meridian Nursing & Rehab, et al.
                Chicago, IL
             312.236.5186               Superior Court of New Jersey - Monmouth County
                                        (Docket No.: MON-L-2975-17) - Honorable Kathleen A. Sheddy
             St. Louis, MO
            636.530.7722                Retained by the Law Firm of Brian P. Murphy, P.C.
                                        **Deposition**
    www.lesnevich.com                   Our File No. 2019-069

                          SKILLS        (47)    SEPTEMBER 20, 2021

       Civil & Criminal Litigation      Brad D. Bayles, an individual, for Himself, and on behalf of Jefferson of Monticello,
      Expert Witness Testimony          Inc., a Pennsylvania corporation vs. Robert G. Hamrock, an individual and Jefferson
     Courtroom Demonstratives           of Monticello, Inc., a Pennsylvania corporation (Case No.: GD-18-2757)
                                        Court of Common Pleas of Allegheny County, Pennsylvania
  Civil & Criminal Investigations
                                        -Civil Division
                                        Retained by The Montgomery Law Firm LLC
                      SERVIC E S
                                        Jury Trial - Honorable Alan D. Hertzberg
                                        Our File No. 2020-005
                    handwriting and
                  signature analysis
                                        (48)    OCTOBER 20, 2021
                 forensic consulting

            electronic signature        Commonwealth of Pennsylvania vs. Peter Robert Harvey
         analysis and veri cation       (MJ-40201-CR-0000098-2021)
                                        Commonwealth of Pennsylvania, County of Indiana
             forensic document
                                        Retained by the Indiana County District Attorney’s Of ce
 examination and authentication
                                        Preliminary Hearing - Honorable Guy B. Haberl
  non-destructive ink, paper, and       Our File No. 2021-043                      Khody R. Detwiler Testimony List - Page 12 of 17
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                                                    Forensic Document Examiner



                        C ONTAC T      TE STIMONY LI ST continued


    khody@lesnevich.com                (49)   OCTOBER 26, 2021

          linkedin.com/in/             Carl E. Merrell; Lyle Ranson; Jeanette Ranson; Craig S. Miller; Wanda Edwards Miller;
         khody-r-detwiler
                                       and Robert Nastase; Plaintiffs, v. James M. Smith; Jennifer Smith; and Carolina
   7550 Woodbury Pike                  Beverage Group LLC F/K/A Carolina Beer & Beverage, LLC, Defendants.
Roaring Spring, PA 16673
                                       Superior Court of North Carolina - Mecklenburg County
        Roaring Spring, PA
                                       (Docket No.: 19-CVS-21650 [Master File] Related Cases: 19 CVS 22027
           814.793.2377
                                       and 19 CVS 23665) - Honorable Michael L. Robinson
             Pittsburgh, PA
             412.430.3887              Retained by Parker Poe Adams & Bernstein LLP
                                       **Deposition**
          Philadelphia, PA
           215.800.0120                Our File No. 2020-107
                Chicago, IL
             312.236.5186              (50)   JANUARY 6, 2022 - (INTERNATIONAL)
             St. Louis, MO
            636.530.7722               Santa Monica Equity Inc. v. Christelle Fila Nzololo
                                       In the High Court of the Hong Kong Special Administrative Region
    www.lesnevich.com
                                       -Court of First Instance Miscellaneous Proceedings No. 214 of 2021 (Hong Kong)
                                       Retained by Kobre & Kim (Central Hong Kong Of ce)
                           SKILLS
                                       Bench Trial - The Honorable Anthony Chan J
                                       Our File No. 2020-008
       Civil & Criminal Litigation
      Expert Witness Testimony         (51)   FEBRUARY 16, 2022
     Courtroom Demonstratives
  Civil & Criminal Investigations      Beulah Allen v. Ali Ghasemzadeh, M.D., et al. (Case No.: 118-CI-00292)
                                       Mason County Circuit Court - Mason County, Kentucky
                        SERVIC E S     Retained by Calderhead Lockemeyer & Peschke Law Of ce
                                       Jury Trial - Honorable Stockton B. Wood
                                       Our File No. 2020-084
                    handwriting and
                  signature analysis
                                       (52)   MARCH 16, 2022
                 forensic consulting

            electronic signature       State of Delaware v. James Cooke (I.D. No. 0506005981)
         analysis and veri cation      Delaware Superior Court, New Castle County
                                       Retained by the Of ce of the Federal Public Defender - Middle District of Pennsylvania
             forensic document
 examination and authentication        Evidentiary Hearing - Honorable T. Henley Graves
                                       Our File No. 2018-103
  non-destructive ink, paper, and                                                 Khody R. Detwiler Testimony List - Page 13 of 17
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                                   KHODY R. DE T WILER
                                                      Forensic Document Examiner



                      C ONTAC T             TE STIMONY LI ST continued


    khody@lesnevich.com                     (53)   JUNE 30, 2022

          linkedin.com/in/                  IN RE: The Estate of Robert A. Dobson, a/k/a Robert Allen Dobson, Deceased
         khody-r-detwiler
                                            (Docket No. 1422-0162)
   7550 Woodbury Pike                       Court of Common Pleas of Centre County, Pennsylvania
Roaring Spring, PA 16673
                                            -Orphans’ Court Division
        Roaring Spring, PA
                                            Retained by Babst, Calland, Clements & Zomnir, P.C.
           814.793.2377
                                            Bench Trial - Honorable Brian K. Marshall
             Pittsburgh, PA
             412.430.3887                   Our File No. 2022-033

          Philadelphia, PA
           215.800.0120                     (54)   AUGUST 31, 2022
                Chicago, IL
             312.236.5186                   Commonwealth of Pennsylvania vs. Brian Bradley Giles
             St. Louis, MO                  (Docket No.: R2899956)
            636.530.7722                    Court of Common Pleas of Cambria County, Pennsylvania
                                            Retained by the Cambria County Of ce of the District Attorney
    www.lesnevich.com
                                            Preliminary Hearing - Honorable Michael Muslin
                                            Our File No. 2022-075
                          SKILLS

                                            (55)   OCTOBER 5, 2022
       Civil & Criminal Litigation
      Expert Witness Testimony              IMO Estate of Delores Maloney, Deceased
     Courtroom Demonstratives               Superior Court of New Jersey, Chancery Division-Probate Part
  Civil & Criminal Investigations           Burlington County, Docket No. 2019-2212
                                            Retained by McNeely McGuigan & Esmi LLC
                      SERVIC E S            Bench Trial - Honorable Paula T. Dow
                                            Our File No. 2022-036
                    handwriting and
                  signature analysis        (56)   DECEMBER 21, 2022

                 forensic consulting
                                            SALEM CONSUMER SQUARE OH LLC, v. BELFOR USA GROUP, INC.
            electronic signature            United States Bankruptcy Court for the Western District of Pennsylvania
         analysis and veri cation           (Bankruptcy No. 21-20020-CMB) - Honorable Carlota M. Böhm
                                            Retained by Bernstein-Burkley, P.C.
             forensic document
 examination and authentication             **Deposition**
                                            Our File No. 2022-022
  non-destructive ink, paper, and                                                     Khody R. Detwiler Testimony List - Page 14 of 17
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                                           T h e Te s t i m o n y L i s t o f



                                   KHODY R. DE T WILER
                                                  Forensic Document Examiner



                      C ONTAC T        TE STIMONY LI ST continued


    khody@lesnevich.com                (57)   JANUARY 25, 2023

          linkedin.com/in/             David Paul Washinsky, as Executor of the Estate of Paul Washinsky, Plaintiff,
         khody-r-detwiler
                                       vs. Thomas Nicholas Washinsky, Defendant, (No.: 11-22-159)
   7550 Woodbury Pike                  Court of Common Pleas of Cambria County, Pennsylvania
Roaring Spring, PA 16673
                                       Orphans’ Court Division
        Roaring Spring, PA
                                       Retained by Evey Black Attorneys LLC
           814.793.2377
                                       Bench Trial - Honorable Patrick T. Kiniry
             Pittsburgh, PA
             412.430.3887              Our File No. 2022-044

          Philadelphia, PA
           215.800.0120                (58)   MARCH 21 & 24, 2023
                Chicago, IL
             312.236.5186              IN RE: Nomination Petition of Gary Masino As Candidate for City
             St. Louis, MO             Council In the 10th Council District (Petition Hearing)
            636.530.7722               Commonwealth Court of Pennsylvania - City Hall (Philadelphia, Pennsylvania)
                                       Retained by the Law Of ces of J. Matthew Wolfe
    www.lesnevich.com
                                       Petition Hearing - Honorable Joshua Roberts
                                       Our File No. 2023-025
                             SKILLS

                                       (59)   APRIL 6, 2023
       Civil & Criminal Litigation
      Expert Witness Testimony         IN RE: Estate of Edward Bernard Rasor, Deceased
     Courtroom Demonstratives          In the Circuit Court of the Seventh Judicial Circuit
  Civil & Criminal Investigations      in and for Broward County, Florida (No. PRC 170004900)
                                       Retained by Saavedra-Goodwin Attorneys and Counselors at Law
                      SERVIC E S       Bench Trial (Probate Division) - Honorable Nicholas Lopane
                                       Our File No. 2023-018
                    handwriting and
                  signature analysis   (60)   APRIL 14, 2023

                 forensic consulting
                                       Ralph Elsell, Plaintiff, vs. Encore Wire Corporation, Defendant
            electronic signature       Cause No. 471-04957-2021 (471st Judicial District)
         analysis and veri cation      Collin County, Texas - Honorable Andrea Bouressa
                                       Retained by Littler Mendelson, P.C.
             forensic document
 examination and authentication        **Deposition**
                                       Our File No. 2022-105
  non-destructive ink, paper, and                                                  Khody R. Detwiler Testimony List - Page 15 of 17
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                                       KHODY R. DE T WILER
                                                  Forensic Document Examiner



                      C ONTAC T         TE STIMONY LI ST continued


    khody@lesnevich.com                 (61)   APRIL 20, 2023

          linkedin.com/in/              Commonwealth of Pennsylvania v. Myrle Evelyn Miller
         khody-r-detwiler
                                        (CP-60-CR-0000229-2021)
   7550 Woodbury Pike                   Court of Common Pleas of Union County, Pennsylvania
Roaring Spring, PA 16673
                                        Retained by the Pennsylvania Of ce of Attorney General (POAG)
        Roaring Spring, PA
                                        Jury Trial - Honorable Edward D. Reibman
           814.793.2377
                                        (Specially assigned Lehigh County Senior Judge)
             Pittsburgh, PA
             412.430.3887               Our File No. 2021-022

          Philadelphia, PA
           215.800.0120                 (62)   MAY 3, 2023
                Chicago, IL
             312.236.5186               IN RE: The Estate of Dorothy Grigg, Deceased (No. 11-22-686)
             St. Louis, MO              Court of Common Pleas of Cambria County, Pennsylvania
            636.530.7722                Orphans’ Court Division
                                        Retained by Smorto, Persio, Webb & McGill
    www.lesnevich.com
                                        Bench Trial - Honorable Patrick T. Kiniry
                                        Our File No. 2022-073
                          SKILLS

                                        (63)   AUGUST 22, 2023
       Civil & Criminal Litigation
      Expert Witness Testimony          In the Matter of the Estate of Rebecca A. Lewis, Deceased (File No. 2022-38876)
     Courtroom Demonstratives           State of New York Surrogate Court: County of Cattaraugus
  Civil & Criminal Investigations       Retained by Cole, Sorrentino, Hurley, Hewner & Gambino, P.C.
                                        Bench Trial - Honorable Ronald D. Ploetz
                      SERVIC E S        Our File No. 2022-087

                                        (64)   AUGUST 29, 2023
                    handwriting and
                  signature analysis
                                        Kimberlee Duran-Woomer and Aaron Duran, Plaintiffs, vs.
                 forensic consulting
                                        Elaine Frances Zajicek, Defendant (No. GD-22-000611)
            electronic signature        Court of Common Pleas of Allegheny County, Pennsylvania - Civil Division
         analysis and veri cation       Retained by John Linkosky & Associates
                                        Bench Trial - Honorable Michael E. McCarthy
             forensic document
 examination and authentication         Our File No. 2022-078

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                                       KHODY R. DE T WILER
                                                   Forensic Document Examiner



                      C ONTAC T         TE STIMONY LI ST continued


    khody@lesnevich.com                 (65)    OCTOBER 23, 2023

          linkedin.com/in/              JB&B Capital, LLC, Plaintiff, v. Medrite LLC and Laura Kasper, Defendants
         khody-r-detwiler
                                        (Case No. 3:21-cv-00117)
   7550 Woodbury Pike                   United States District Court
Roaring Spring, PA 16673
                                        -Eastern District of Tennessee (Greenville, Tennessee)
        Roaring Spring, PA
                                        Retained by Woolf, McClane, Bright, Allen & Carpenter, PLLC
           814.793.2377
                                        Bench Trial - Honorable Clifton L. Corker
             Pittsburgh, PA
             412.430.3887               Our File No. 2022-019

          Philadelphia, PA
           215.800.0120                 (66)    DECEMBER 6, 2023
                Chicago, IL
             312.236.5186               Commonwealth of Pennsylvania v. Dushawn Onell Ellis
             St. Louis, MO              (CP-06-CR-2598-2022)
            636.530.7722                Court of Common Pleas of Berks County, Pennsylvania
                                        Retained by the Pennsylvania Of ce of Attorney General (POAG)
    www.lesnevich.com
                                        Jury Trial - Honorable Thomas G. Parisi
                                        Our File No. 2022-079
                          SKILLS

                                        (67)    MAY 14, 2024
       Civil & Criminal Litigation
      Expert Witness Testimony          Felicia Bey v. Karen Renee Leake, individually, and as Executrix of the
     Courtroom Demonstratives           Estate of Joseph Holder Bey, deceased.
  Civil & Criminal Investigations       (C.A. No. 2023-0233-SEM)
                                        Delaware Court of Chancery, New Castle County
                      SERVIC E S        Retained by Ferry Jospeh, P.A.
                                        Bench Trial - Honorable Selena E. Molina
                                        Our File No. 2022-093
                    handwriting and
                  signature analysis

                 forensic consulting

            electronic signature
         analysis and veri cation

             forensic document
 examination and authentication

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